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                                                           pendent jurisdiction over city's claims against con-
                                                           tractor in third-party action; (2) retention of third-
           United States Court of Appeals,                 party action by district court once principal federal
                     Ninth Circuit.                        claim was settled was not abuse of discretion; (3)
 UNITED STATES of America, Plaintiff/Appellee,             contract between city and contractor for supply and
                            v.                             installation of secondary treatment equipment at
 The CITY OF TWIN FALLS, IDAHO, Defendant.                 sewage treatment plant was a “sale of goods con-
The CITY OF TWIN FALLS, IDAHO, Third-Party                 tract,” rather than a construction contract; (4) ex-
                  Plaintiff/Appellant,                     pert witness fees in addition to statutory $30 per
                            v.                             day witness fee could be awarded; and (5) refusal to
HAMILTON AND VOELLER, INC., an Idaho cor-                  award each party costs for depositions of its expert
  poration; Detweiler Bros., Inc., an Idaho corpora-       witnesses conducted by other party was error.
tion; Envirotech Corporation, d/b/a Envirotech Sys-
 tems, Inc., a foreign corporation doing business in            Affirmed in part, reversed and remanded in
     Idaho, Third-Party Defendants/ Appellees.             part.
 UNITED STATES of America, Plaintiff/Appellee,
                            v.                                               West Headnotes
 The CITY OF TWIN FALLS, IDAHO, Defendant.
                                                           [1] Federal Courts 170B         23
The CITY OF TWIN FALLS, IDAHO, Third-Party
                  Plaintiff/Appellant,                     170B Federal Courts
                            v.                                 170BI Jurisdiction and Powers in General
HAMILTON AND VOELLER, INC., an Idaho cor-                         170BI(A) In General
          poration, Third-Party Defendant,                             170Bk20 Ancillary and Incidental Juris-
                           and                             diction
 Envirotech Corporation, d/b/a Envirotech Systems,                             170Bk23 k. Coparties and New
       Inc., Third-Party Defendant/Appellant.              Parties. Most Cited Cases
                                                                District court had ancillary jurisdiction over
             Nos. 84-3832, 84-3837.
                                                           third-party claim of city against sewage treatment
        Argued and Submitted Oct. 9, 1985.
                                                           plant contractor for indemnity for civil penalties
             Decided Dec. 15, 1986.
                                                           arising from discharge of various pollutants from
     Federal Government sued city for violation of         plant in violation of federal water pollution stand-
federal water pollution statutes, and city filed third-    ards and pollution discharge permit; indemnity
party action against contractor and others respons-        claim arose out of installation, warranty, and failure
ible for design and construction of city's sewage          of plant to return clean water to river, which was
treatment plant. Following resolution of main claim        same transaction which was subject of claim of fed-
in favor of federal Government under terms of stip-        eral Government asserted against city in main ac-
ulation and consent decree, the United States Dis-         tion. Fed.Rules Civ.Proc.Rule 14(a), 28 U.S.C.A.
trict Court for the District of Idaho, Ray McNich-
                                                           [2] Federal Courts 170B         15
ols, J., entered judgment in favor of city in third-
party action and awarded city its attorney fees and        170B Federal Courts
some costs. City appealed, and contractor cross-              170BI Jurisdiction and Powers in General
appealed. The Court of Appeals, Boochever, Circuit               170BI(A) In General
Judge, held that: (1) district court had ancillary and                170Bk14 Jurisdiction of Entire Contro-




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versy; Pendent Jurisdiction                                [4] Municipal Corporations 268          339(2)
               170Bk15 k. Federal Question Cases in
General, Claims Pendent To. Most Cited Cases               268 Municipal Corporations
     District court had pendent jurisdiction over              268IX Public Improvements
city's third-party claims against sewage treatment                268IX(C) Contracts
plant contractor for breach of contract and war-                      268k339 Validity and Sufficiency in Gen-
ranty, where such third-party claims were state            eral
claims arising from same nucleus of operative facts                        268k339(2) k. Conformity to Estim-
as city's ancillary third-party indemnity claim asser-     ates, Specifications, and Request for Bid. Most
ted against contractor, in main action brought by          Cited Cases
federal Government against city for violations of               Prebid submittal and guarantee letter submitted
federal water pollution statutes. Fed.Rules                by contractor did not modify or defeat formation of
Civ.Proc.Rule 18(a), 28 U.S.C.A.                           contract between contractor and city to supply and
                                                           install secondary treatment equipment for sewage
[3] Federal Courts 170B          18                        treatment plant, where neither submittal nor letter
                                                           actually listed any changes or took any exception
170B Federal Courts                                        for original contract specifications, and contractor
   170BI Jurisdiction and Powers in General                subsequently signed contract which included both
      170BI(A) In General                                  original specifications and terms set forth in first
            170Bk14 Jurisdiction of Entire Contro-         addendum to plans and specifications issued by
versy; Pendent Jurisdiction                                city's consulting engineer.
              170Bk18 k. Validity or Substantiality
of Federal Claims and Disposition Thereof. Most            [5] Sales 343      53(1)
Cited Cases
                                                           343 Sales
Federal Courts 170B         23                                343I Requisites and Validity of Contract
                                                                  343k53 Questions for Jury
170B Federal Courts                                                       343k53(1) k. In General. Most Cited
    170BI Jurisdiction and Powers in General               Cases
        170BI(A) In General                                     When evidence so clearly indicates undisputed
             170Bk20 Ancillary and Incidental Juris-       facts that no jury issue remains to be resolved, it is
diction                                                    proper for district court to rule on issue as to
                     170Bk23 k. Coparties and New          whether particular transaction is a contract for sale
Parties. Most Cited Cases                                  of goods within scope of Uniform Commercial
     Retention of jurisdiction over pendent and an-        Code or a construction contract. I.C. § 28-2-102.
cillary claims set forth in third-party action after
principal federal claim was settled was not abuse of       [6] Sales 343      3.1
discretion, where district court expressed its con-
cern about continuing jurisdiction over the                343 Sales
“voluminous” third-party action and desirability of           343I Requisites and Validity of Contract
having matter tried locally, was aware of responsib-               343k3 Sale Distinguished from Other Trans-
ility to reevaluate jurisdiction throughout pendency       actions
of litigation, requested additional briefing from the                343k3.1 k. In General. Most Cited Cases
parties, and made reasoned determination to retain            (Formerly 343k3)
jurisdiction     over     the     action.   Fed.Rules           Even though some contract documents referred
Civ.Proc.Rules 14(a), 18(a), 28 U.S.C.A.                   to “construction” and “contractors,” under Idaho




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law, contract for supply and installation of second-          secondary treatment equipment at sewage treatment
ary treatment equipment at sewage treatment plant             plant.
was “sale of goods contract,” rather than construc-
tion contract, and, thus, was within scope of Uni-            [9] Federal Civil Procedure 170A          851
form Commercial Code; purpose of contract was to
                                                              170A Federal Civil Procedure
purchase and install equipment which would separ-
                                                                  170AVII Pleadings and Motions
ate and dispose of sludge produced in secondary
                                                                     170AVII(E) Amendments
treatment of wastewater, and predominant factor,
                                                                            170Ak851 k. Form and Sufficiency of
thrust, and purpose of contract was for sale of
                                                              Amendment. Most Cited Cases
goods, with necessary, nondivisible, but incidental
                                                                   District court could not have denied motion to
services component. I.C. §§ 28-2-102, 28-2-105(1).
                                                              amend third-party complaint to add claim for punit-
[7] Sales 343      404                                        ive damages on basis of “futility of amendment”
                                                              without abusing its discretion, where sufficient al-
343 Sales                                                     legations concerning third-party defendant's harm-
    343VIII Remedies of Buyer                                 ful state of mind were made to state claim for punit-
       343VIII(C) Actions for Breach of Contract              ive damages. Fed.Rules Civ.Proc.Rule 15(a), 28
           343k404 k. Nature and Form. Most Cited             U.S.C.A.
Cases
     Provision of contract for supply and installa-           [10] Federal Civil Procedure 170A           840
tion of secondary treatment equipment at sewage
                                                              170A Federal Civil Procedure
treatment plant, stating that equipment manufac-
                                                                 170AVII Pleadings and Motions
turer was to remove equipment and refund cost of
                                                                    170AVII(E) Amendments
equipment and its installation at option of city if
                                                                       170Ak839 Complaint
performance of sludge treatment system in compli-
                                                                            170Ak840 k. Time for Amendment.
ance with specifications was not attained within
                                                              Most Cited Cases
two years after completion and start-up of plant, did
not limit city to exclusive contract remedy; instead,         Federal Civil Procedure 170A          843
city was entitled to all remedies and damages avail-
able under Idaho Uniform Commercial Code. I.C. §              170A Federal Civil Procedure
28-2-719(1)(b).                                                   170AVII Pleadings and Motions
                                                                     170AVII(E) Amendments
[8] Damages 115          59                                             170Ak839 Complaint
                                                                           170Ak843 k. Nature and Extent of Re-
115 Damages
                                                              lief Sought. Most Cited Cases
    115III Grounds and Subjects of Compensatory
                                                                   Refusal to permit third-party complaint to be
Damages
                                                              amended to add claim for punitive damages after
        115III(B) Aggravation, Mitigation, and Re-
                                                              jury trial had begun was not abuse of discretion,
duction of Loss
                                                              where third-party defendant's trial preparation in-
         115k59 k. Matter of Mitigation; Collateral
                                                              volved responding to third-party plaintiff's contract,
Source Rule in General. Most Cited Cases
                                                              warranty, and negligence claims only, third-party
    Under Idaho law, collateral source rule did not
                                                              defendant would have been substantially prejudiced
apply so as to preclude offset of funds granted by
                                                              if required to defend against punitive damages
the United States and state of Idaho from amount of
                                                              claim at such a late point in the proceedings, and
damages sustained by city caused by contractor's
                                                              adequate continuance at that time would have been
breach of contract for supply and installation of




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unduly disruptive of the jury trial. Fed.Rules            170A Federal Civil Procedure
Civ.Proc.Rule 15(a), 28 U.S.C.A.                              170AXIX Fees and Costs
                                                                    170Ak2741 k. Witness Fees. Most Cited
[11] Federal Civil Procedure 170A         2741            Cases
                                                               Purpose of rule providing that district court
170A Federal Civil Procedure
                                                          shall require party seeking discovery to pay expert
    170AXIX Fees and Costs
                                                          a reasonable fee for time spent in responding to dis-
           170Ak2741 k. Witness Fees. Most Cited
                                                          covery, is to avoid unfairness of requiring one party
Cases
                                                          to provide expensive discovery for another party's
     District courts have discretion to award expert
                                                          benefit     without    reimbursement.      Fed.Rules
witness fees in addition to statutory witness fee
                                                          Civ.Proc.Rule 26(b)(4)(C), 28 U.S.C.A.
upon finding on record that expert testimony was
crucial or indispensable in establishing prevailing       [15] Federal Civil Procedure 170A         2741
party's case or defense; calling into doubt Henkel v.
Chicago, St. Paul, Minneapolis & Omaha Ry., 284           170A Federal Civil Procedure
U.S. 444, 52 S.Ct. 223, 76 L.Ed. 386; declining to           170AXIX Fees and Costs
follow J.T. Gibbons, Inc. v. Crawford Fitting Co.,                  170Ak2741 k. Witness Fees. Most Cited
790 F.2d 1193 (5th Cir.); Murphy v. International         Cases
Union of Operating Engineers, 774 F.2d 114 (6th               Before it refuses to order deposing party to pay
Cir.); Bosse v. Litton Unit Handling Systems, 646         costs of deposition of other party's expert, district
F.2d 689 (1st Cir.); Cleverock Energy Corp. v. Tre-       court must make finding of manifest injustice.
pel, 609 F.2d 1358 (10th Cir.). 28 U.S.C.A. § 1821.       Fed.Rules Civ.Proc.Rule 26(b)(4)(C), 28 U.S.C.A.

[12] Federal Civil Procedure 170A         2741            [16] Federal Civil Procedure 170A         2741

170A Federal Civil Procedure                              170A Federal Civil Procedure
   170AXIX Fees and Costs                                     170AXIX Fees and Costs
          170Ak2741 k. Witness Fees. Most Cited                     170Ak2741 k. Witness Fees. Most Cited
Cases                                                     Cases
    Application for expert witness fees in addition            Refusal to award each party its costs for depos-
to statutory witness fee should be given careful          itions of its expert witnesses taken by the other
scrutiny, and district courts should exercise their       party, thereby resulting in each party paying its
discretion in awarding such fees sparingly. 28            own experts when the other party deposed those ex-
U.S.C.A. § 1821.                                          perts, was error, in absence of finding that manifest
                                                          injustice would result if party taking the deposition
[13] Federal Civil Procedure 170A         2741            were required to pay costs of that deposition.
                                                          Fed.Rules Civ.Proc.Rule 26(b)(4)(C), 28 U.S.C.A.
170A Federal Civil Procedure
   170AXIX Fees and Costs                                 [17] Municipal Corporations 268          1040
          170Ak2741 k. Witness Fees. Most Cited
Cases                                                     268 Municipal Corporations
    Prior application and approval of enhanced fee           268XVI Actions
for expert's testimony is not required. 28 U.S.C.A.             268k1040 k. Costs. Most Cited Cases
§ 1821.                                                       District court could award attorney fees, under
                                                          Idaho statute permitting award of attorney fees in
[14] Federal Civil Procedure 170A         2741            contract actions relating to purchase or sale of




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goods, to city which prevailed in its action against                his death, Honorable Mary M. Schroeder
contractor involving contract relating to supply and                was drawn as his replacement.
installation of secondary treatment equipment in
sewage treatment plant, which contract was a con-
                                                           BOOCHEVER, Circuit Judge:
tract for the sale of goods. I.C. § 12-120(2).
                                                                The United States sued the City of Twin Falls,
[18] Federal Courts 170B         415                       Idaho for violation of federal water pollution stat-
                                                           utes. The City filed a third-party indemnity action
170B Federal Courts                                        against Envirotech Corporation and others respons-
   170BVI State Laws as Rules of Decision                  ible for the design and construction of the City's
      170BVI(C) Application to Particular Matters          sewage treatment plant. The United States prevailed
          170Bk415 k. Damages, Interest, Costs and         against the City, and the City obtained a jury ver-
Fees. Most Cited Cases                                     dict in its breach of contract and warranties action
    Federal courts must follow state law as to attor-      against Envirotech. The verdict was for
ney fees in diversity actions.                             $1,222,493.65, and the district court awarded the
                                                           City attorney fees and some costs. The City moved
[19] Municipal Corporations 268          1040              unsuccessfully for a partial new trial on damages.
                                                           Envirotech cross-appeals. The parties raise numer-
268 Municipal Corporations
                                                           ous issues involving jurisdiction, contract formation
   268XVI Actions
                                                           and modification, Uniform Commercial Code ap-
       268k1040 k. Costs. Most Cited Cases
                                                           plication and remedies, jury instructions, punitive
     City was entitled to its reasonable attorney fees
                                                           damages, expert witness costs and fees, and attor-
on appeal under Idaho statute providing that pre-
                                                           ney fees.
vailing party is to be allowed reasonable attorney
fee in any civil action to recover on contract relat-                              FACTS
ing to purchase or sale of goods, where contract at              The City of Twin Falls (the City) needed a new
issue for supply and installation of secondary treat-      secondary waste treatment plant to meet United
ment equipment at sewage treatment plant was for           States Environmental Protection Agency (EPA) wa-
the sale of goods, and city substantially prevailed        ter pollution discharge standards. Between 1972
on its appeals. I.C. § 12-120(2).                          and 1974, a Twin Falls engineering firm, Hamilton
                                                           and Voeller, Inc., designed the facility and prepared
*864 Randall D. Morrison, Finan, White & Morris-
                                                           specifications for the equipment. The City solicited
on, San Francisco, Cal., for plaintiff/appellee.
                                                           bids for the various phases of the project, including
*865 John C. Hohnhorst, John C. Hepworth, Hep-             site preparation and general construction (Division
worth, Nungester & Felton, Twin Falls, Idaho, for          I), and manufacture and installation of the second-
defendant.                                                 ary treatment equipment (Division III). For its Divi-
                                                           sion III contract, the City required the bidder to
                                                           guarantee it would meet certain specifications, in-
Appeal from the United States District Court for the       cluding a specified rate of dewaterability of sludge
District of Idaho.                                         FN1
                                                                  and a percentage of biological oxygen demand
                                                                    FN2
                                        FN*                (BOD)          that would be attained without the use
Before TANG,       SCHROEDER,                     and
                                                           of chemicals. The successful bidder also was re-
BOOCHEVER, Circuit Judges.
                                                           quired to agree that it would repair or replace
                                                           equipment failing to meet specifications within the
         FN* Honorable Ben C. Duniway particip-            first year. If after a two year period the equipment
         ated in the original panel in this case. Upon     still did not meet specifications, the City had an op-




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tion to demand the removal of the equipment and            isdiction as to the third-party defendants based
refund of payments.                                        upon the pendent and ancillary nature of this claim.
                                                           The City alleged that it had been sued by the United
         FN1. Dewatering is the process of remov-          States and that it was “entitled to indemnity for any
         ing microscopic organisms known as                and all loss occasioned by recovery by the United
         sludge from waste water by the use of a           States,” as well as for all costs and attorney fees. It
         vacuum filter.                                    also sought additional damages arising from the
                                                           need to repair or replace the treatment plant caused
         FN2. BOD is a measure of the total amount
                                                           by Envirotech's negligence and breach of express
         of oxygen demanded from water by pollut-
                                                           and implied contract warranties.
         ants and microorganisms.
                                                                In October 1980, the litigation between the
     Envirotech Corporation (Envirotech) won the
                                                           United States and the City was concluded in the
bid for supplying and installing the secondary treat-
                                                           United States' favor under the terms of a stipulation
ment equipment. The facility was constructed and
                                                           and consent decree. Among other things, the decree
the treatment system installed between 1974 and
                                                           required the City to repair and reconstruct the plant
1976. Problems with the secondary system began
                                                           to meet its EPA pollution discharge permit require-
immediately, and the system never performed as in-
                                                           ments. By the terms of the consent decree, the court
tended.
                                                           retained jurisdiction over the proceedings until the
     In September 1976, the United States (for the         decree terminated on December 31, 1982. The court
EPA) commenced an action seeking injunctive re-            observed that, for all practical purposes, the suit
lief and civil penalties against the City in the feder-    between the United States and the City was termin-
al district court for the District of Idaho, alleging      ated, that the City's third-party actions presented
that the City's sewage treatment plant was dischar-        voluminous and complex state law issues best re-
ging various pollutants in violation of federal water      solved in the state courts, that the trial was likely to
pollution standards and the pollution discharge per-       be protracted, and that there appeared to be no com-
mit issued the City by the EPA. The district court's       plete diversity of jurisdiction. Nevertheless, the
jurisdiction was based upon 28 U.S.C. § 1331               court determined to retain jurisdiction because of
(1982) (federal question) and 28 U.S.C. § 1345             the extensive discovery already conducted.
(United States as plaintiff).
                                                                The jury returned a verdict against Envirotech
     The City denied the allegations, and in March         for the sum of $1,222,493.65, and judgment was
1978, it joined several third-party defendants, in-        entered accordingly. Following trial, the City
cluding Envirotech (a California corporation which         moved for a partial new trial on its measure of dam-
manufactured and sold the pollution control equip-         ages objection. The motion was denied. The City
ment which is the subject of this appeal). The an-         also sought costs including expert fees and costs
swer and third-party complaint alleged that in *866        which it paid its experts for depositions taken by
order to comply with the federal water pollution           Envirotech. The City obtained costs of $15,109.79
standards, the City contracted with the third-party        from Envirotech, but the expert fees and deposition
defendants to design and build the treatment facil-        costs were denied. The City was awarded statutory
ity, and that as a result of breach of contract and        attorney fees from Envirotech in the amount of
negligence, the City was “potentially liable to the        $275,000, and Envirotech appeals this award.
Plaintiff for daily alleged fines....” Because there
                                                                             ANALYSIS
were other third-party defendants defeating di-
                                                                         I. JURISDICTION
versity, the City in an amended answer asserted jur-
                                                               The court denied Envirotech's motion to dis-




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miss for lack of subject matter jurisdiction. Enviro-        which, by themselves, are not within the statutory
tech appeals the ruling that the district court had an-      jurisdiction of the federal courts.... Ancillary
cillary jurisdiction over the City's third-party             claims are claims which ... arise out of the same
claims. Envirotech argues that the City's third-party        transactions that are the subject of the federal
claims were pendent party claims, i.e., the City             cause [ ] of action but which are asserted after the
brought in new parties on state law claims which,            original complaint is filed, usually by one other
because of the absence of complete diversity, had            than the original plaintiff.
no independent basis of federal subject matter juris-
diction. Envirotech also contends that even if the             Blake v. Pallan, 554 F.2d 947, 956-57 n. 11
court had ancillary jurisdiction, it abused its discre-    (9th Cir.1977). The City's indemnity claim against
tion in refusing to dismiss the third-party claims         Envirotech arises out of the installation, warranty,
which predominantly involved state law issues.             and failure of the treatment system to return clean
                                                           water to the river. This is the same transaction
     The City responds that the district court pos-        which was the subject of the federal claim against
sessed ancillary jurisdiction permitting the City to       the City. The third-party claim is therefore ancillary
implead third-party defendants under Rule 14(a) of         under this definition.
the Federal Rules of Civil Procedure for indemni-
fication of the City's liability as to the original             [2] The City's contract and warranty claims in-
plaintiff, the United States. Further, once the dis-       volve issues not presented by the United States'
trict court properly exercised its ancillary jurisdic-     complaint. We must determine whether they are
tion as to the City's indemnity claims, it also had        pendent under the provisions of Rule 18(a). In
pendent jurisdiction over the City's remaining dam-        Blake, we defined pendent claims as “state claims
age claims under Rule 18.                                  which arise from the same ‘nucleus of operative
                                                           facts' as that of a federal claim and which are joined
                Standard of Review                         in the same complaint with the federally cognizable
     This court reviews de novo a district court's de-     claim by the original plaintiffs against the original
cision on subject matter jurisdiction. Jones v. Gor-       defendants.” 554 F.2d at 956-57 n. 11. We have
don, 792 F.2d 821, 824 (9th Cir.1986); Clayton v.          concluded that the City's indemnity claim is ancil-
Republic Airlines, Inc., 716 F.2d 729, 730 (9th            lary to “the federally cognizable claim.” Viewing
Cir.1983).                                                 the City as the “original plaintiff” in its third-party
                                                           action against Envirotech as the “original defend-
                      Discussion                           ant,” the City's contract and warranty claims are
       A. Ancillary and Pendent Jurisdiction               state claims arising from the same nucleus of oper-
     Fed.R.Civ.P. 14(a) permits a defendant, as a          ative facts as the indemnity claim, and thus are pen-
third-party plaintiff, to bring an action *867 against     dent to its ancillary claim.
a person not a party “who is or may be liable to him
for all or part of the plaintiff's claim against him.”          This court was faced with a similar situation in
Rule 18(a) permits a party asserting a claim to re-        United States ex rel. Payne v. United Pacific Insur-
lief as a third-party claimant to join as many claims      ance Co., 472 F.2d 792 (9th Cir.), cert. denied, 411
as he has against the opposing party. Fed.R.Civ.P.         U.S. 982, 93 S.Ct. 2273, 36 L.Ed.2d 958 (1973). In
18(a).                                                     Payne, a subcontractor was not paid by his con-
                                                           tractor for equipment and labor, and brought suit
    [1] Both ancillary and pendent jurisdiction            against the surety of the contractor on performance
                                                           and payment bonds. The Miller Act, 40 U.S.C. §
  expand the scope of federal courts by permitting
                                                           270b (1982), provided the basis of his cause of ac-
  parties to obtain a federal forum for claims
                                                           tion. The surety impleaded the contractor, seeking




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indemnity for the surety's liability to Payne. The              Having concluded that there was ancillary and
surety also joined other claims against the contract-      pendent jurisdiction, the next question is whether
or on other performance bonds regarding projects,          the district court abused its discretion in retaining
other than the one involving Payne. Prior to trial,        the case after the principal federal claim was
the surety settled the subcontractor's claims. The         settled. Although this court reviews questions of
district court ruled that the third-party claims were      jurisdiction de novo, Clayton, 716 F.2d at 730, once
ancillary to the original federal question action.         having determined that ancillary jurisdiction exists,
                                                           this court has said that ancillary jurisdiction, like
     This court agreed that ancillary jurisdiction ex-     pendent jurisdiction, is a “doctrine of discretion.”
isted as to the surety's third-party indemnity claim       Blake, 554 F.2d at 958 (quoting United Mine Work-
for its liability arising out of the transaction spawn-    ers v. Gibbs, 383 U.S. 715, 726, 86 S.Ct. 1130,
ing the original action. We held that “third-party         1139, 16 L.Ed.2d 218 (1966)). Under the abuse of
claims are ancillary if the claims arise out of the        discretion standard, this court will not reverse un-
subject matter of the original action and involve the      less it has a definite and firm conviction that the
same persons and issues ... or if they arose out of        court below committed a clear error of judgment in
the same ‘transaction or occurrence,’ ” 472 F.2d at        the conclusion it reached upon a weighing of the
794 (citations omitted), and that under these tests,       relevant factors. Potlatch Corp. v. United States,
the district court properly asserted jurisdiction over     679 F.2d 153, 157 (9th Cir.1982). Justification for
the surety's claim for indemnification as to Payne's       ancillary jurisdiction “ ‘lies in consideration of ju-
claims.                                                    dicial economy, convenience and fairness to litig-
                                                           ants; if these are not present a federal court should
     As to the other claims asserted by the surety
                                                           hesitate to exercise jurisdiction over state claims....'
against the contractor, however, we found that there
                                                           ” Blake, 554 F.2d at 958 (quoting Gibbs, 383 U.S.
was no close nexus between those third-party
                                                           at 726, 86 S.Ct. at 1139). See also Hill v. Rolleri,
claims and the original claim brought by Payne.
                                                           615 F.2d 886, 889 (9th Cir.1980) (where federal di-
“The fact that the third-party claim arose from the
                                                           versity jurisdiction over third-party claim existed
same general background does not suffice as a nex-
                                                           when trial began, it survived settlement of main ac-
us.” Id. at 795.
                                                           tion upon which diversity jurisdiction depended).
     Under Payne, ancillary jurisdiction clearly ex-       “Joinder of a state law claim against a pendent
ists as to the City's third-party indemnification          party has been allowed if that party has already
claims. The City's additional claims for breach of         been brought into the case as a third-party defend-
contract and breach of express and implied war-            ant by the party sued on a federal claim.” 13B C.
ranties also arise from the same transaction, and un-      Wright, A. Miller & E. Cooper, Federal Practice
like the situation in Payne, there is a close factual      and Procedure § 3567.2 (1984) (footnote omitted);
and logical nexus between the pendent *868 claims          see also Ortiz v. United States Government, 595
added under Rule 18(a) and the original claim.             F.2d 65, 69 (1st Cir.1979).
Therefore, pendent jurisdiction supports these
                                                                [3] The district court expressed its concern
claims. See also Schwab v. Erie Lackawanna Rail-
                                                           about      continuing    jurisdiction    over      the
road, 438 F.2d 62 (3d Cir.1971); Noland Co. v.
                                                           “voluminous” third-party action and the desirability
Graver Tank & Manufacturing Co., 301 F.2d 43,
                                                           of having the matter tried locally. The district court
49-51 (4th Cir.1962). We hold that the district court
                                                           was aware that it had a responsibility to reevaluate
properly ruled that ancillary and pendent jurisdic-
                                                           its jurisdiction throughout the pendency of the litig-
tion existed.
                                                           ation. See Gibbs, 383 U.S. at 727, 86 S.Ct. at 1139.
    B. District Court's Exercise of Discretion             It requested additional briefing from the parties and




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made a reasoned determination that it should retain        BOD load might be greater than the City required.
jurisdiction over the action. Under these circum-
stances, we cannot say that the district court abused           Envirotech also argues that it submitted a guar-
its discretion.                                            antee letter which did not contain all of the guaran-
                                                           tees that the City required. Rather, Envirotech omit-
 II. CONTRACT FORMATION OR MODIFIC-                        ted the guarantees concerning dewatering and re-
                       ATION                               cycling rates and the provision that chemical treat-
     Envirotech next contends that the district court      ment was not to be used. Envirotech argues that it
erred in ruling as a matter of law that Envirotech's       only included the City's requirement concerning the
Pre-bid Submittal and guarantee letter did not affect      supplier's right to repair and the City's option to re-
its contract with the City. When the City solicited        quire removal and refund.
bids for the sludge treatment system, it required
certain specific guarantees:                                    During trial, Envirotech moved for a directed
                                                           verdict based upon its theory that the Pre-bid Sub-
     (1) the system was required to treat the sludge       mittal and guarantee letter either defeated the form-
so that it would be dewaterable at a minimum rate          ation of the contract or constituted a counteroffer
of 4 lbs/sq.ft./hr.;                                       which was accepted by the City and resulted in an
                                                           agreement based upon the terms of the letters. The
     (2) this rate was to be accomplished without          district court denied Envirotech's motion, ruling as
the use of chemicals;                                      a matter of law that the letters were not adequate to
                                                           change the contract. The court instructed the jury
     (3) the BOD (biological oxygen demand) con-
                                                           that the Pre-bid Submittal and guarantee letter did
tained in the recycle streams produced by the sys-
                                                           not affect the contract. The jury, therefore, was not
tem was never to exceed an amount equal to fifteen
                                                           permitted to consider their effect on the formation
percent of the BOD contained in the raw sewage in-
                                                           or modification of the contract, and in its Special
fluent to the plant; and
                                                           Verdict, specifically found that Envirotech contrac-
     (4) if the system failed to meet these specifica-     ted to meet the City's specifications. Envirotech ar-
tions within two years of system start-up, the seller      gues that the district court erred in its ruling, and
was to remove the equipment and refund the price           that it was for the jury to determine whether the
at the City's option.                                      documents defeated or modified the formation of
                                                           the contract.
    In April 1974, the City's consulting engineer is-
sued its first addendum to the plans and specifica-                       Standard of Review
tions. The addendum required each bidder to list all            The interpretation of a contract is a mixed
changes or exceptions taken with the specifications.       question of law and fact. Interpetrol Bermuda Ltd.
Envirotech argues that it responded with a Pre-bid         v. Kaiser Aluminum Int'l. Corp., 719 F.2d 992, 998
Submittal which differed from the *869 specifica-          (9th Cir.1984). We review the interpretation of a
tions required by the City. Envirotech's Pre-bid           contractual provision de novo. Kemmis v.
Submittal stated that because the treatment plant          McGoldrick, 767 F.2d 594, 597 (9th Cir.1985); In-
might be required to dewater one hundred percent           terpetrol Bermuda Ltd., 719 F.2d at 998 (the prin-
heat treated waste activated sludge (more difficult        ciples of contract interpretation to be applied are
to dewater and treat), the loading rate would be less      questions of law subject to de novo review). The
than the City's required 4 lbs/sq.ft./hr.; that better     determination of whether contract language is am-
loading rates could be achieved by using chemicals         biguous is a matter of law. In re U.S. Financial Se-
in the secondary treatment process; and that the           curities Litigation, 729 F.2d 628, 632 (9th
                                                           Cir.1984). “If a provision is ambiguous, however,




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its interpretation depends on the parties' intent at         The thermal conditioning system offered shall
the time of execution.” Kemmis, 767 F.2d at 597.             condition raw primary or waste activated sludges
The district court then should make factual findings         or mixtures of the two as specified, so that the
as to the parties' actual intent. Id. The district           sludge can be dewatered on the vacuum filters
court's factual findings concerning what the parties         without the addition of chemicals or any other
intended, said, and did are reviewed under the               filter aid. The thermally conditioned product ...
clearly erroneous standard. Id.; Interpetrol Ber-            shall be dewaterable according to the perform-
muda Ltd., 719 F.2d at 998; see also Laborers                ance requirements of Section C [of the original
Health & Welfare Trust Fund v. Kaufman & Broad,              specifications for] Basis of Design.
707 F.2d 412, 418 (9th Cir.1983) (intent as issue
for trier of fact).                                             (Emphasis added). Thus, the very addendum
                                                           which Envirotech argues invited changes to the spe-
     Under Idaho law, “where it is contended that a        cifications, clearly indicates that the City expected
contract has been modified, and the evidence relat-        dewatering and conditioning of the sludge without
ing to the modification is undisputed and unam-            the use of chemicals and in accordance with the
biguous, the trial court must decide as a matter of        contract specifications.
law whether the contract was modified.” Johnson v.
Allied Stores Corp., 106 Idaho 363, 368, 679 P.2d               Second, we note that neither the Pre-bid Sub-
640, 645 (1984) (citations omitted).                       mittal nor the guarantee letter submitted by Enviro-
                                                           tech actually lists any changes or takes any excep-
     From these cases we derive the general rule           tion whatever with the original specifications. Nor
that the determination of the parties' intent to modi-     did Envirotech specifically take exception with the
fy a contract is a question of fact for the jury. There    provision of the addendum set out above. Rather,
is a threshold, however, where the trial judge must        Envirotech speculates that the treatment plant “may
first examine the evidence to determine whether            have to dewater one hundred percent heat treated
there is an actual ambiguity or uncertainty concern-       waste activated sludge,” and that when “just waste
ing the parties' intent. If the judge determines that      activated sludge ... is being processed ... the return
there is no ambiguity, then the court is entitled to       ... can have a total ... BOD up to thirty percent....”
rule as a matter of law whether the contract was           Further, Envirotech “recommend[s] that a chemic-
modified. In re U.S. Financial Securities Litigation,      al feeding system be added....” More is required to
729 F.2d at 632. We review the district court's legal      reach that threshold of ambiguity necessary to send
determination de novo. United States v. McConney,          to the jury the question of the parties' intent con-
728 F.2d 1195, 1202-04 (9th Cir.) (en banc), cert.         cerning contract formation or modification.
denied, 469 U.S. 824, 105 S.Ct. 101, 83 L.Ed.2d 46
(1984); *870United States ex rel. Union Building                Finally, Envirotech has produced no evidence
Materials Corp. v. Haas & Haynie Corp., 577 F.2d           that when it signed the contract, it had not bound it-
568, 572 (9th Cir.1978).                                   self to the specifications and conditions contained
                                                           therein. Thus, even assuming that the Pre-bid Sub-
                     Discussion                            mittal and guarantee letter served to take exception
     [4] We hold that the court did not err in ruling      with the specifications, Envirotech subsequently
as a matter of law that the Pre-bid Submittal and          signed the contract which included both the original
guarantee letter did not modify or defeat the forma-       specifications and the explicit provision earlier
tion of the contract. Initially we observe that the        quoted from the first addendum. Reviewing the
first addendum, which instructed bidders to list all       contract terms de novo, we find that the terms are
changes and exceptions taken with the specifica-           unambiguous, that Envirotech signed the contract
tions, also contained the following provision:             containing those terms, and that the Pre-bid Sub-




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mittal and the guarantee letter were not sufficient to       There is some question as to whether Article 2 of
modify the contract. We therefore affirm the district        the Uniform Commercial Code is applicable to
court's ruling.                                              the contract at issue here. Article 2 applies to the
                                                             sale of goods and this contract involves both sale
      III. APPLICABILITY OF THE UCC                          of goods and provision of services. The modern
     Envirotech next contends that the district court        trend is to apply Article 2 to such mixed sales/
erred in ruling as a matter of law that Envirotech's         services contracts.
contract with the City was a sale of goods contract
within the scope of the Uniform Commercial Code                577 F.2d at 572 n. 2 (the court said it did not
(UCC), rather than a construction contract not with-       need to decide how Hawaii would resolve the issue
in the UCC, and that the district court should have        because the result it reached was the same whether
submitted this as a question of fact to the jury.          or not the UCC applied) (citing Bonebrake v. Cox,
                                                           499 F.2d 951, 958 (8th Cir.1974)).
                  Standard of Review
     [5] In response to Envirotech's motion for dir-            In Bonebrake, the Eighth Circuit reversed a de-
ected verdict, the district court ruled that it was        cision that the UCC did not apply where the con-
“satisfied it is a matter of law that this was a con-      tract provided for the rendition of services for the
tract for the sale of goods. I'll have to apply the        installation of bowling alley lanes and equipment.
UCC.” “Ordinarily, the question whether a particu-         “[T]he fact that the contract ‘involved substantial
lar transaction is a construction contract or a con-       amounts of labor’ does not remove it from inclu-
tract of sale is an issue of material fact, which must     sion under the Code....” Id. at 959. The court then
be resolved at trial,” Holden v. Placid Oil Co., 512       enunciated the test which this circuit in Haas re-
F.Supp. 644, 647 n. 2 (E.D.La.1981) (where district        garded as the “modern trend”:
court ruled in a summary judgment proceeding that
the transaction was a sale of goods), but when the           The test for inclusion or exclusion is not whether
evidence so clearly indicates undisputed facts that          they are mixed, but, granting that they are mixed,
no jury issue remains to be resolved, it is proper for       whether their predominant factor, their thrust,
the court to rule on the issue. Thus, if the contract        their purpose, reasonably stated, is the rendition
was unambiguous, it was not error for the district           of service, with goods incidentally involved (e.g.,
court to make its determination as a matter of law.          contract with artist for painting) or is a transac-
                                                             tion of sale, with labor incidentally involved
                 *871 Discussion                             (e.g., installation of a water heater in a bath-
    Chapter 2 of the Idaho Uniform Commercial                room).
Code-Sales is applicable to “transactions in goods.”
Idaho Code § 28-2-102 (1980). “ ‘Goods' means all              Id. at 960 (footnotes omitted). Accord Omaha
things (including specially manufactured goods)            Pollution Control Corp. v. Carver-Greenfield
which are movable at the time of identification to         Corp., 413 F.Supp. 1069, 1085 (D.Neb.1976).
the contract for sale....” Id. § 28-2-105(1). The
                                                               [6] The purpose of the City's contract with En-
Idaho Supreme Court has not enunciated a test for
                                                           virotech was to purchase and install equipment
determining whether contracts involving both sales
                                                           which would separate and dispose of sludge pro-
of goods and services are governed by the Idaho
                                                           duced in the secondary treatment of waste water.
UCC.
                                                           Some of the contract documents refer to
     In Haas & Haynie Corp., this court was faced          “construction” and “contractors.” On the other
with the problem of mixed sales and services con-          hand, other contract documents and documents pre-
tracts.                                                    pared by Envirotech indicate the contract was for




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goods. See, e.g., Contract Specifications Addendum           response on your part has been initiated to date
1 at Envirotech's Excerpt of Record page 3: Divi-            therefore it is expected that you will remove your
sion III. “Included shall be the percentage of the           equipment from the plant site and refund the cost
total selling price for which the supplier is furnish-       of the equipment and its installation, just exactly
ing and installing the particular piece of equipment,        as you contracted to do.
to include and cover piping ..., high pressure
pump(s) and sludge grinders, heat exchanger(s), re-            Please be advised that your failure to perform
actor, boiler ..., vacuum filters and support equip-         your contractual obligation immediately as stated
ment, etc., required for the complete installation.”         above may result in the City removing your
These all are movable goods as contemplated by               equipment for you at your expense.
Idaho Code § 28-2-105(1).
                                                                The City contends that the district court erred
     Applying the Bonebrake test, we find that the         because the contract remedy was not exclusive as a
predominant factor, thrust, and purpose of the con-        matter of law and that the City is entitled to all rem-
tract with Envirotech was for the sale of goods,           edies and damages available under the Idaho UCC.
with a necessary, non-divisible, but incidental ser-       Envirotech responds that the court ruled correctly
vices component. We agree with the district court          regarding the exclusive nature of the contract provi-
and hold that as a matter of Idaho law, this contract      sion. Envirotech also argues that the provision is a
was governed by the Idaho Uniform Commercial               liquidated damages provision and as such the City
Code.                                                      is not entitled also to recover compensatory dam-
                                                           ages; the City elected its remedy, which did not fail
            IV. CONTRACT REMEDY                            of its essential purpose; and the City is not entitled
     The district court ruled as a matter of law that      to replacement costs or “cover” for a different
the contract provided the City with a specific             sewage treatment plant. Finally, Envirotech argues
“exclusive remedy” which the City had “elected,”           that the costs of the replacement plant were paid by
limiting the City's recovery to the purchase price of      the government and the court incorrectly ruled that
the equipment, costs of its removal, minor damages         the collateral source rule applied.
suffered before its replacement, and prejudgment
interest. The contract provision at issue provides:                            Discussion
                                                                         A. Exclusive Remedy
E. GUARANTEES                                                  Under the Idaho UCC, parties to a contract may
  (4) If performance of the sludge treatment system        provide for an exclusive, limited remedy in the
  in compliance with the specification*872 and to          event of breach. Idaho Code § 28-2-719(1) (1980).
  the satisfaction of the Engineer is not attained         Before a remedy will be deemed exclusive,
  within two years after completion and startup of         however, the parties must have clearly intended and
  the treatment plant, the equipment manufacturer          provided for exclusivity. Subsection (b) of Idaho
  shall remove his equipment and refund the cost of        Code § 28-2-719(1) provides:
  the equipment and its installation at the option of
  the Owner.                                                 resort to a [contractual] remedy as provided is
  On March 21, 1978, the City Manager sent a let-            optional unless the remedy is expressly agreed to
  ter to Envirotech's Senior Vice President, which           be exclusive, in which case it is the sole remedy.
  stated:
                                                                Accord Jensen v. Seigel Mobile Homes Group,
  This letter is your notification that the provisions     105 Idaho 189, 196, 668 P.2d 65, 72 (1983)
  of specifications paragraph ... E(4) ... of your         (finding that repair was not intended as an exclus-
  contract.... must be implemented.... No action or        ive remedy); see also Idaho Code § 28-2-719, Offi-




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cial Comment No. 2 (presumption that remedies are           § 920A (1977), and Idaho follows this tort prin-
cumulative rather than exclusive); cf. Clark v. In-         ciple. Lasselle v. Special Products Co., 106 Idaho
ternational Harvester Co., 99 Idaho 326, 337-39 &           170, 174, 677 P.2d 483, 487 (1983). Further, courts
n. 9, 581 P.2d 784, 795-97 & n. 9 (1978) (court re-         generally have encountered little difficulty in ap-
viewed language of an express limited repair-               plying the collateral source rule to payments made
or-replace warranty which provided that the rights          voluntarily and gratuitously, or even where the
were “in lieu of all warranties, express or implied,        funds are given to plaintiff by a government
... [and] all other obligations or liabilities, including   agency, e.g. Roundhouse v. Owens-Illinois, Inc.,
liability for incidental or consequential damages,”         604 F.2d 990, 994 (6th Cir.1979), or by way of a
and held that the intent “clearly expressed by its          government grant, Town of East Troy v. Soo Line
terms” was to limit purchaser's remedy to repair-           Railroad Co., 476 F.Supp. 252, 253-54
or-replace).                                                (E.D.Wis.1979), aff'd, 653 F.2d 1123, 1132 (7th
                                                            Cir.1980), cert. denied, 450 U.S. 922, 101 S.Ct.
     [7] The contract before this court contains no         1373, 67 L.Ed.2d 351 (1981). See also Wheatland
language of exclusivity. The record indicates no            Irrigation District v. McGuire, 562 P.2d 287, 302
provisions or language limiting the City's remedies,        (Wyo.1977) (citing cases). In Alesko v. Union Pa-
and the parties have not contended that there are           cific Railroad Co., 62 Idaho 235, 243, 109 P.2d
any other provisions. Applying the language and             874, 878 (1941), the Idaho Supreme Court likewise
policy underlying Idaho Code § 28-2-719(1)(b) and           held that the collateral source rule barred evidence
the Idaho decisions in Jensen and Clark, we hold            of government relief benefits for flood damage
that the provision does not limit the City to an ex-        caused by defendant.
clusive contract remedy. Thus, the district court
erred in ruling as a matter of law that the clause               Assuming that the funds granted by the United
created an exclusive remedy. Accordingly, we re-            States and the State of Idaho to aid in the replace-
verse that ruling and remand for partial new trial to       ment of the treatment facility were a collateral
give the City an opportunity to seek its other rem-         source, the question is whether the collateral source
edies under the Idaho UCC.                                  rule applies in a contracts case. This issue presents
                                                            a pure question of state law: whether Idaho courts
               B. Collateral Source Rule                    would apply the collateral source rule to preclude
     The original treatment plant project was funded        offsetting remedial grants or benefits provided by
seventy-five percent by the United States (EPA)             the government from the amount of damages for
and fifteen percent by the State of Idaho. The              breach of contract. We review the district court's
United States and the State of Idaho also paid a            determination of this issue de novo. Meckert v.
substantial portion*873 of the cost of the replace-         Transamerica Insurance Co., 742 F.2d 505, 506
ment facilities after the original equipment failed to      (9th Cir.1984).
perform. The district court ruled that these federal
and state replacement payments were from a                       We have found no authority to support the ap-
“collateral source,” and held that under the collater-      plication of the collateral source rule in the con-
al source rule, Envirotech could not offset its con-        tracts field. Authority is to the contrary. Daniel
tract liability and must respond in damages regard-         Construction Co. v. International Union of Operat-
less of the source of funds used for repair.                ing Engineers, Local 513, 570 F.Supp. 299, 303
                                                            (E.D.Mo.1983) (“The doctrine simply is not applic-
    That a party's liability is not reduced by pay-         able to breach of contract cases”), aff'd on other
ments or other benefits received by the injured             grounds, 738 F.2d 296 (8th Cir.1984); Grover v.
party from collateral sources is a well-recognized          Ratliff, 120 Ariz. 368, 370, 586 P.2d 213, 215
principle in tort law, Restatement (Second) of Torts




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(Ariz.App.1978) (“The collateral source rule is a           injured party for his loss. Anderson v. Gailey, 100
concept of damages in tort cases and does not apply         Idaho 796, 800, 606 P.2d 90, 94 (1980) (citations
to an ordinary breach of contract case.”); see also         omitted). The Idaho court explained:
United Protective Workers of America, Local No. 2
v. Ford Motor Co., 223 F.2d 49, 54 (7th Cir.1955)             “[A]s a general proposition ... the purpose or ob-
(“We have been unable to find a single case in                jective of the court is to place the injured party ...
which this rule has been carried over to contract             in the position no better and no worse than he
damages.”); D. Dobbs, Handbook on the Law of                  would have occupied had the contract been per-
Remedies 587 (West 1973) (“the collateral source              formed.” ...
rule is not used at all in contracts claims”).
                                                                We have long held in Idaho that the purpose of
     The policy rationales underlying the collateral          awarding damages for breach of contract is to
source rule also do not support its application to            fully recompense the non-breaching party for its
contract cases. See Restatement (Second) of Con-              losses sustained because of the breach, not to
tracts § 347 comment e (1979) (the principle “is              punish the breaching party.
less compelling in the case of a breach of contract
                                                                 Id. at 801, 606 P.2d at 95 (quoting King v. Be-
than in the case of a tort”).
                                                            atrice Foods Co., 89 Idaho 52, 58-59, 402 P.2d
  [I]t is the position of the law that a benefit that is    966, 969 (1965)) (citations omitted).
  directed to the injured party should not be shifted
                                                                 [8] With these principles in mind, we believe
  so as to become a windfall for the tortfeasor. If
                                                            that if the Idaho Supreme Court were presented
  the plaintiff was himself responsible for the bene-
                                                            with this issue, it would hold, as we do here, that
  fit, as by maintaining his own insurance or by
                                                            the collateral source rule does not apply to preclude
  making advantageous employment arrangements,
                                                            the offset of funds granted by the United States and
  the law allows him to keep it for himself. If the
                                                            the State of Idaho from the amount of damages sus-
  benefit was a gift to the plaintiff from a third
                                                            tained by the City caused by Envirotech's breach of
  party or established for him by law, he should not
                                                            contract.
  be deprived of the advantage that it confers....
                                                                                    C.
    Perhaps there is an element of punishment of
                                                                In view of our decision on contract remedy is-
  the wrongdoer involved.
                                                            sues, we need not address the City's and Enviro-
     Restatement (Second) of Torts § 920A com-              tech's other arguments concerning the City's meas-
ment b (1977). Thus, if there must be a double re-          ure of damages.
covery, the law prefers that the injured victim re-
                                                            V. AMENDMENT OF COMPLAINT FOR PUN-
ceive it rather than the *874 tortfeasor. Cf. Fleming,
                                                                             ITIVE DAMAGES
The Collateral Source Rule and Loss Allocation in
                                                                 The City next contends that the district court
Tort Law, 54 Cal.L.Rev. 1478, 1545 (1966) (“Yet
                                                            erred in failing to permit the City to amend its com-
there is evident uneasiness about this result. That
                                                            plaint to add a claim for punitive damages. The
double recovery runs against the grain is attested ...
                                                            City urges that the availability of punitive damages
by the evident judicial distaste for extending it to
                                                            is an issue of fact for resolution by the jury, and
borderline situations, such as cases of contractual
                                                            that the court invaded the jury's province in determ-
liability.”).
                                                            ining the merits of the propriety of punitive dam-
   In actions for breach of contract only such              ages. Envirotech argues that the court properly ex-
damages will be allowed as fairly compensate the            ercised its discretion in denying the City leave to




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amend its complaint because to do so at such a late         [m]otions to amend ... are commonly granted. Al-
date during the course of the trial would have been         though within the trial court's discretion, leave to
prejudicial.                                                amend “shall be freely given when justice so re-
                                                            quires.” ... We are required to review the exercise
     In March 1978, the City filed its third-party          of the trial court's discretion to deny a motion to
claim against Envirotech. Jury trial began on               amend strictly. Thus, where the record does not
November 8, 1983. On December 30, 1983, the                 clearly dictate the district court's denial, we have
City moved to amend its complaint to add a claim            been unwilling to affirm absent written findings
for punitive damages. The court ruled that it was in-       ... and have reversed findings that were merely
clined to allow the City to amend its complaint to          conclusory....
add the claim, but that it probably would not submit
the issue to the jury. Envirotech objected to allow-          Klamath-Lake, 701 F.2d at 1292-93 (citations
ing the amendment, arguing that it would be preju-        omitted).
diced by the City presenting theories of fraud,
malice, and oppression to the jury even if the court           In Foman v. Davis, 371 U.S. 178, 182, 83 S.Ct.
ultimately disallowed the claim. Further, Enviro-         227, 230, 9 L.Ed.2d 222 (1962), the Supreme Court
tech argued that its entire trial strategy, including     identified four factors relevant to whether a motion
discovery, exhibits, witnesses, and defenses, was         for leave to amend the pleadings should be denied:
prepared with a view to responding only to the            undue delay, bad faith or dilatory motive, futility of
City's contract, warranty, and negligence claims.         amendment, and prejudice to the opposing party. In
The court ordered its statement that the motion was       United States v. Webb, 655 F.2d 977, 980 (9th
granted be rescinded, and ruled that the motion was       Cir.1981), this court held that delay alone, no mat-
under advisement.                                         ter how lengthy, is an insufficient ground for denial
                                                          of leave to amend. “In the absence of some state-
     On January 31, 1983, the City renewed its mo-        ment of reasons or findings of fact showing bad
tion to amend based on the authority of Cheney v.         faith or prejudice, we cannot determine whether it
Palos Verdes Investment Corp., 104 Idaho 897,             was an abuse of discretion to deny [the] motion for
904, 665 P.2d 661, 668 (1983), which holds that           leave to amend [the] pleadings.” Id.
under Idaho law, allowance of punitive damages is
a question of fact for the jury. The court denied the          The record shows clearly that Envirotech ar-
City's motion.                                            gued it would be prejudiced by the late amendment
                                                          adding a claim for punitive damages. Had the dis-
               Standard of Review                         trict court expressly based its denial of leave to
     The denial of leave to amend the pleadings           amend on that ground, the court would have prop-
after a responsive pleading has been filed is re-         erly exercised its discretion. It appears, however,
viewed for an abuse of discretion. Klamath-Lake           that the district court may have denied the motion
Pharmaceutical Association v. Klamath Medical             to amend upon its independent analysis of the mer-
Service Bureau, 701 F.2d 1276, 1292 (9th Cir.),           its of the punitive damages claim. This is contrary
cert. denied, 464 U.S. 822, 104 S.Ct. 88, 78              to Idaho substantive law which provides that
L.Ed.2d 96 (1983).                                        “punitive damage awards are in the first instance a
                                                          jury decision, subject to the trial court's authority to
                 *875 Discussion                          modify or overturn that jury verdict as a matter of
     Fed.R.Civ.P. 15(a) provides that after a re-         law.” Palos Verdes, 104 Idaho at 904, 665 P.2d at
sponse has been filed, a complaint may only be            668.
amended by leave of the court. This court has held
that                                                          In Palos Verdes, the Idaho Supreme Court af-




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firmed an award of punitive damages in an action           “futility of amendment,” Foman, 371 U.S. at 182,
for nonpayment and fraud arising out of an oral            83 S.Ct. at 230, without abusing its discretion.
contract. In addition to holding that an award of
punitive damages “should be left first to the de-               Normally we would remand to the district court
termination of the trier of the fact,” id., 665 P.2d at    to reconsider, in light of this opinion, its ruling
668, the Court also explained that                         denying the motion to amend. In this case,
                                                           however, the highly respected trial judge died dur-
  [t]he justification for punitive damages must be         ing the pendency of this appeal. This panel is there-
  that the defendant acted with an extremely harm-         fore in a better position than a judge unfamiliar
  ful state of mind, whether that state be termed          with this voluminous record to determine whether
  “malice, oppression, fraud or gross negligence”          the amendment should be allowed.
  ... or simply “deliberate or willful”....
                                                                [10] As we have previously indicated, jury trial
     Id. 104 Idaho at 905, 665 P.2d at 669 (citations      began on November 8, 1983. It was not until
omitted). See also Boise Dodge, Inc. v. Clark, 92          December 30, 1983, that the City moved to amend
Idaho 902, 907, 453 P.2d 551, 556 (1969) (under            its complaint by adding the claim for punitive dam-
Idaho law, “punitive damages may be assessed in            ages. Envirotech's trial preparation involved re-
contract actions where there is fraud, malice, op-         sponding to the City's contract warranty and negli-
pression or other sufficient reason for doing so”).        gence claims only. We believe that Envirotech
Of course, the party seeking punitive damages must         would have been substantially prejudiced if re-
make sufficient allegations of fraud or other harm-        quired to defend against the punitive damage claim
ful state of mind to reach the threshold of raising        at such a late point in the proceedings. Moreover,
the question of punitive damages for proper                an adequate continuance at that time would have
presentation to the jury. See Palos Verdes, 104            been unduly disruptive of the jury trial. Accord-
Idaho at 905, 665 P.2d at 669 (“sufficient evidence        ingly, we conclude that the denial of the motion to
was placed before the jury to raise the question[ ] of     amend was not an abuse of discretion.
defendants' malice”).
                                                              VI. EXPERT WITNESS FEES AND DEPOS-
     [9] Based upon our review of the exhibits and                              ITION FEES
testimony in the record, we believe that sufficient                       A. Expert Witness Fees
allegations concerning Envirotech's harmful state of            The City served a Memorandum of Costs upon
mind were made to state a claim for punitive dam-          the district court, requesting, in part, expert fees in
ages. For example, the City offered as Exhibit 18 a        the amount of $170,610.67. In denying the applica-
letter from Envirotech's salesman which character-         tion for expert fees, the district court said, “I will
ized the City's consulting engineer as a “novice,”         allow only the $30 a day witness fee for all wit-
and which stated that the salesman “should find no         nesses, expert or ordinary. I will not allow extra
problems in getting him to accept any of my pro-           fees for expert witnesses.” The City requests this
posals.” Further, in the third paragraph of this let-      court to join the recent trend in other circuits and
ter, the salesman asks, “If there are any unfair ad-       hold that district courts have the discretion in ap-
vantages I can take in helping set this project up,        propriate cases to award expert witness fees in ex-
please notify me of them now so I can incorporate          cess of the statutory amount authorized for wit-
them in the specifications.” Because there was suf-        nesses generally. The City also asks us to remand
ficient*876 evidence to raise the question of punit-       for the district court to make a finding and exercise
ive damages, the district court could not have             its discretion whether to award enhanced expert
denied the City's motion to amend its complaint to         witness fees in this case.
add a claim for punitive damages on the basis of




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               Standard of Review                          with Rule 54(d), which grants the district court in
    Whether enhanced expert witness fees may be            the absence of other statutory authority the dis-
allowed is a question of law reviewed de novo. See         cretionary authority to award costs to a prevailing
United States v. McConney, 728 F.2d 1195,                  party, Henkel would appear to resolve the question
1202-04 (9th Cir.) (en banc), cert. denied, 469 U.S.       of enhanced expert fees in the negative. Henkel,
824, 105 S.Ct. 101, 83 L.Ed.2d 46 (1984).                  however, was decided before enactment of the Fed-
                                                           eral Rules of Civil Procedure. In a later case, the
                     Discussion                            Supreme Court recognized that Rule 54 authorizes
     By statute, witnesses in federal courts “shall be     district courts to exercise their discretion
paid an attendance fee of $30 per day for each day's       “sparingly” to award costs not specifically enumer-
attendance.” 28 U.S.C. § 1821(b) (1982). In Henkel         ated in 28 U.S.C. § 1821. Farmer v. Arabian Amer-
v. Chicago, St. Paul, Minneapolis & Omaha Ry.,             ican Oil Co., 379 U.S. 227, 85 S.Ct. 411, 13
284 U.S. 444, 52 S.Ct. 223, 76 L.Ed. 386 (1932),           L.Ed.2d 248 (1964). The Court stated:
the Court rejected a claim for fees for expert wit-
nesses who had testified at trial, holding that              We do not read that Rule [54(d) ] as giving dis-
                                                             trict judges unrestrained discretion to tax costs to
  when the Congress has prescribed the amount to             reimburse a winning litigant for every expense he
  be allowed as costs, its enactment controls....            has seen fit to incur in the conduct of his case.
                                                             Items proposed by winning parties as costs
    Specific provision as to the amounts payable
                                                             should always be given careful scrutiny....
  and taxable as witness fees was made by the Con-
                                                             Therefore, the discretion given district judges
  gress as early as the Act of February 28, 1799....
                                                             to tax costs should be sparingly exercised with
  The statute now applicable is the Act of April 26,
                                                             reference to expenses not specifically allowed
  1926 [the predecessor of 28 U.S.C. § 1821]....
                                                             by statute.
  Under these provisions, additional amounts paid
  as compensation, or fees, to expert witnesses can-           Id. at 235, 85 S.Ct. at 416 (emphasis added,
  not be allowed or taxed as costs in cases in the         brackets added).
  federal courts.
                                                                The rule traditionally followed by federal
     284 U.S. at 446, 52 S.Ct. at 224 (citations           courts is that expert fees cannot be recovered as
omitted, brackets added). The Court also observed          costs beyond the statutory allowances provided in
that                                                       28 U.S.C. § 1821. E.g., J.T. Gibbons, Inc. v. Craw-
  [t]he Congress has dealt with the subject compre-        ford Fitting Co., 790 F.2d 1193, 1194-95 (5th
  hensively and has made no exception of the fees          Cir.1986) (en banc); Murphy v. International Union
  of expert witnesses. Its legislation must be             of Operating Engineers, 774 F.2d 114, 132-34 (6th
  deemed controlling and excludes the application          Cir.1985), cert. denied, 475 U.S. 1017, 106 S.Ct.
  in the federal courts of any different state prac-       1201, 89 L.Ed.2d 315 (1986); Bosse v. Litton Unit
  tice.                                                    Handling Systems, 646 F.2d 689, 695 (1st Cir.1981)
                                                           ; Cleverock Energy Corp. v. Trepel, 609 F.2d 1358,
    Id. at 447, 52 S.Ct. at 225.
                                                           1363 (10th Cir.1979), cert. denied, 446 U.S. 909,
     Fed.R.Civ.P. 54(d) provides that “[e]xcept            100 S.Ct. 1836, 64 L.Ed.2d 261 (1980).
when express provision therefor is made ... in a
                                                               In reliance on Farmer, however, other federal
statute of the United States ..., costs shall be al-
                                                           courts have held that the prevailing party may re-
lowed as of course to the *877 prevailing party un-
                                                           cover expert witness fees when the expert's testi-
less the court otherwise directs....” In combination
                                                           mony was crucial to the resolution of the case. See,




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e.g., Paschall v. Kansas City Star Co., 695 F.2d            any event, *878 our discussion concerning the
322, 338-39 (8th Cir.1982) (“ ‘While Farmer com-            scope of the district court's discretion is instructive
mands perhaps a tight-fisted exercise of discretion         and bears repeating:
in order to insure moderation in the cost of litiga-
tion, it does not mandate parsimony to the extent of          The exercise of that discretion may not be unlim-
precluding recovery of legitimate and indispensible           ited, however. We note [there is] ... language sug-
[sic] litigation expenditures.’ ” (quoting Roberts v.         gesting that these elements of cost may only go
S.S. Kyriakoula D. Lemos, 651 F.2d 201, 206 (3d               beyond the statutory “limits” (subsistence and
Cir.1981)), rev'd on other grounds, 727 F.2d 692              transportation) in the presence of special circum-
(8th Cir.) (en banc), cert. denied, 469 U.S. 872, 105         stances. See F.R.Civ.P. Rule 54(d); 28 U.S.C. §§
S.Ct. 222, 83 L.Ed.2d 152 (1984); Roberts, 651                1821, 1920.... It is clear, however, that the re-
F.2d at 206 (“when the expert's testimony ‘played a           quired “special circumstances” are largely a mat-
crucial role in the resolution of the issues presen-          ter of the reasonable needs of the party in the
ted,’ a district court, in its discretion, may award          context of the litigation. Thus, in determining
expert fees”); see also International Woodworkers             whether or not special circumstances exist, the
of America v. Champion International Corp., 790               judge must look to the practical litigation needs
F.2d 1174, 1181-93 (5th Cir.1986) (en banc)                   of the party.... In the instant case, the trial court
(Ruben, J., dissenting) (surveying cases from all             found that the testimony of the expert computer
circuits). Even those courts that adhere to the tradi-        witnesses was essential both to prove the
tional teaching of Henkel and hold that expert wit-           plaintiff's prima facie case through the use of
ness costs must be limited under 28 U.S.C. § 1821             statistics and to rebut the defendant's ... defense.
have recognized flexibility in limited “exceptional           That finding is adequately supported by the re-
circumstances.” See, e.g., Quy v. Air America, Inc.,          cord, and satisfies us that the trial court properly
667 F.2d 1059, 1066 (D.C.Cir.1981); Illinois v.               considered the relationship between the claimed
Sangamo Construction Co., 657 F.2d 855, 864-65                ... expert witness fees and the reasonable needs of
(7th Cir.1981).                                               the litigation.

     Against this background, we examine our own                676 F.2d at 1245.
precedents concerning costs and expert witness
                                                                Likewise, in Shakey's Inc. v. Covalt, 704 F.2d
fees. In Thornberry v. Delta Air Lines, Inc., 676
                                                            426 (9th Cir.1983), we suggested that under
F.2d 1240, 1245 (9th Cir.1982), vacated on other
                                                            “exceptional circumstances” the district court might
grounds, 461 U.S. 952, 103 S.Ct. 2421, 77 L.Ed.2d
                                                            exercise its “ ‘inherent equitable discretionary au-
1311 (1983), a Title VII case, we held without dis-
                                                            thority’ ” to award additional expert fees upon a
cussing Henkel or Farmer that the district court did
                                                            showing that the expert testimony was “essential to
not abuse its discretion in awarding costs, including
                                                            establish[ing] the defense.” Id. at 437 (citation
expert witness fees. Although the opinion is not en-
                                                            omitted). We also stated that “[e]xercise of this au-
tirely clear that the court was faced with the precise
                                                            thority usually requires a prior application to the
issue of enhanced expert fees, the parties' briefs re-
                                                            court to incur the costs in issue.” Id. We held,
vealed that the issue of the trial court's discretion in
                                                            however, that under the circumstances in Shakey's,
awarding costs in addition to those allowed by
                                                            the district court did not abuse its discretion in dis-
Fed.R.Civ.P. 54(d) and 28 U.S.C. § 1920 was vig-
                                                            allowing additional expert costs.
orously argued. See also International Woodwork-
ers, 790 F.2d at 1191 (Rubin, J., dissenting)                   [11][12][13] Thus it is clear that we have previ-
(reading Thornberry as establishing a permissive            ously expressed our approval of the district court's
rule in allowing enhanced expert witness fees). In          exercise of its discretionary authority to award en-




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hanced expert witness fees in the proper case. We          of the case in connection with the *879 taxation of
take this opportunity to clarify our position, and         costs. The court ultimately denied the City's claim
hold that district courts have the discretion to award     for expert fees, including those associated with the
additional expert witness fees upon a finding on the       experts' depositions. Envirotech does not deny that
record that the expert testimony was crucial or in-        the City's claim falls within the purview of
dispensable in establishing the prevailing party's         Fed.R.Civ.P. 26(b)(4)(C), but rather argues that
case or defense. Twentieth Century Fox Film Corp.          each party had several experts and it would make
v. Goldwyn, 328 F.2d 190, 224 (9th Cir.), cert.            no sense to award the City's deposition fees on ap-
denied, 379 U.S. 880, 85 S.Ct. 143, 13 L.Ed.2d 87          peal without awarding the other parties their fees as
(1964), is not to the contrary. There we merely            well.
denied non-witness accounting fees in an antitrust
case; no issue of expert witness fees was presented.                      Standard of Review
As the cases teach, application for expert witness             The question of whether a type of cost is allow-
fees should be given “careful scrutiny,” and district      able under the rules is a question of law which we
courts should exercise their discretion “sparingly.”       review de novo. McConney, 728 F.2d at 1202. The
Farmer, 379 U.S. at 235, 85 S.Ct. at 411. Because          amount of costs awarded is reviewed for an abuse
the trial court will better be able to evaluate the im-    of discretion. Moore v. Hughes Helicopters, Inc.,
portance of expert testimony at the conclusion of          708 F.2d 475, 486 (9th Cir.1983).
the trial, we further hold that prior application and
                                                                               Discussion
approval of an enhanced fee for the expert's testi-
                                                               Fed.R.Civ.P. 26(b)(4) authorizes the deposition
mony is not required.
                                                           of experts, and subdivision 26(b)(4)(C) specifically
     The district court made no finding regarding al-      provides:
lowance of expert fees, so it is impossible to de-
                                                             Unless manifest injustice would result, (i) the
termine whether the court denied the fees in the ex-
                                                             court shall require that the party seeking discov-
ercise of its discretion considering the factors dis-
                                                             ery pay the expert a reasonable fee for time
cussed supra, or on the basis that the City did not
                                                             spent in responding to discovery....
make prior application, or under the belief that en-
hanced expert fees were not allowable. We there-                Fed.R.Civ.P. 26(b)(4)(C) (emphasis added).
fore vacate the district court's denial of additional      The purpose of the rule is to avoid the unfairness of
expert fees and remand this issue for the court to         requiring one party to provide expensive discovery
make a finding and exercise its discretion consist-        for another party's benefit without reimbursement.
ent with this opinion.                                     4 J. Moore, J. Lucas, & G. Grotheer, Jr., Moore's
                                                           Federal Practice, ¶ 26.66[5] (2d ed. 1984). The
       B. Fees of Experts Deposed by Others
                                                           language of the rule is mandatory (“shall”), unless
     The City also contends that the district court
                                                           manifest injustice would result. The Advisory Com-
abused its discretion in requiring each party to pay
                                                           mittee Notes explain that the court may decline to
its own experts when other parties deposed those
                                                           award expenses if it finds that manifest injustice
experts. The City asked the court for a protective
                                                           would result. Fed.R.Civ.P. 26(b)(4)(C), Notes of
order requiring Envirotech to pay the City's experts
                                                           Advisory Committee, 1970 Amendment.
for preparing for and attending Envirotech's depos-
itions. The court denied the motion and required                [14][15][16] In this case, the district court
each party in the interim to pay its own experts for       made no findings and provided no explanation as to
depositions by other parties. The court indicated          the reason it denied expert deposition costs. Before
that the matter would be resolved at the conclusion        it refuses to order a deposing party to pay the other




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party's expert, the district court must make a find-        has substantially prevailed on these appeals, we
ing of manifest injustice. In the absence of such a         hold that the City is entitled to its reasonable attor-
finding, the district court erred in refusing to award      ney fees on appeal under Idaho Code § 12-120(2).
the City's expert deposition costs. Neither the rule        Because in any event it is necessary*880 to remand,
nor the Advisory Notes make a distinction between           we request that the district court assess appropriate
prevailing and other parties. Thus, it would seem           fees for the appeal.
that Envirotech should also benefit from any recon-
sideration by the district court, and be reimbursed                             CONCLUSION
for the reasonable fees incurred for any deposition              We conclude that ancillary and pendent juris-
of its own experts taken by the City, absent findings       diction supported the City's third-party claims in
of manifest injustice. We reverse and remand so             the district court, and affirm the district court's jur-
that the court may award the City and Envirotech            isdictional ruling. We also hold that the court did
their expert deposition costs, unless the court artic-      not abuse its discretion in retaining the case once
ulates findings of manifest injustice.                      the underlying federal action was settled. We affirm
                                                            the district court's holdings that the contract was
              VII. ATTORNEY FEES                            not modified by the Pre-bid Submittal and guaran-
     [17] Envirotech argues that the district court         tee letter, that the Uniform Commercial Code is ap-
erred in awarding the City attorney fees pursuant to        plicable to the contract, and that attorney fees
Idaho Code § 12-120(2) (1979) (§ 12-120(3) as               should be awarded the City under Idaho Code §
amended), because that section applies only to con-         12-120(2).
tract actions “relating to purchase or sale of goods.”
Our holding that the contract was for the sale of                We hold, however, that the court's ruling that
goods as defined by the Idaho UCC disposes of that          the contract provided the City with an exclusive
contention. We affirm the award of attorney fees.           remedy is erroneous. We remand for a partial new
                                                            trial to permit the City to seek its other remedies
     The City claims attorney fees on appeal pursu-         under the Idaho UCC. We also vacate the district
ant to Idaho Code § 12-120(2), which provides:              court's collateral source rule holding, and remand
                                                            this issue for reconsideration during the partial new
  In any civil action to recover on ... [a] contract        trial. We further hold that the court did not abuse its
  relating to the purchase or sale of goods, ... the        discretion in denying the City's motion to amend its
  prevailing party shall be allowed a reasonable at-        complaint to add punitive damages.
  torney fee to be set by the court, to be taxed and
  collected as costs.                                            We hold that the district courts in this circuit
                                                            have the discretion in exceptional cases to award
     In McKee Brothers Ltd. v. Mesa Equipment,              expert witness fees in addition to the statutory $30
Inc., 102 Idaho 202, 203, 628 P.2d 1036, 1037               per day witness fee authorized by 28 U.S.C. §
(1981), the Idaho court awarded attorney fees on            1821(b). We remand so the district court may exer-
appeal under this statute.                                  cise its discretion consistent with this opinion. We
                                                            further hold that the court erred in refusing to
     [18] Federal courts must follow state law as to
                                                            award expert deposition costs. On remand, absent
attorney fees in diversity actions. See Interform Co.
                                                            manifest injustice, the district court should award
v. Mitchell, 575 F.2d 1270, 1280 (9th Cir.1978)
                                                            both the City and Envirotech their reasonable ex-
(applying Idaho law).
                                                            pert witness fees incurred as a result of the oppos-
     [19] Because we have concluded that the con-           ing party's discovery depositions. Finally, we award
tract at issue is for the sale of goods, and as the City    the City its costs and reasonable attorney fees on
                                                            appeal as provided by Idaho statute, and request the




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district court to determine that award.

  AFFIRMED IN PART, REVERSED AND RE-
MANDED IN PART.

C.A.9 (Idaho),1986.
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                                                              ties assessed under Clean Air Act (CAA), as indem-
                                                              nification for civil penalties would violate public
              Court of Appeals of Ohio,                       policy and contravene purpose of CAA; if building
         Second District, Montgomery County.                  owner could escape liability by merely contracting
                                                              with another party for removal of asbestos, then
  BEERMAN REALTY COMPANY, Appellant,
                                                              owner would have no incentive to act responsibly
                 v.
                                                              in disposing of his building by choosing dependable
  ALLOYD ASBESTOS ABATEMENT COM-
                                                              contractor and taking measures to adequately super-
           PANY, Appellee.
                                                              vise work. Clean Air Act, §§ 112, 113, as amended,
                        No. 14650.                            42 U.S.C.A. §§ 7412, 7413.
                   Decided Jan. 11, 1995.
                                                              [2] Environmental Law 149E          296
     Following imposition of civil penalties against
                                                              149E Environmental Law
building owner under Clean Air Act (CAA), owner
                                                                 149EVI Air Pollution
brought action against asbestos removal contractor
                                                                     149Ek296 k. Penalties and Fines. Most Cited
for breach of contract and unjust enrichment, re-
                                                              Cases
questing indemnification for civil penalty and attor-
                                                                 (Formerly 199k25.6(9) Health and Environment)
ney fees incurred in defense of action in which civil
                                                                   In civil penalty action under Clean Air Act
penalties were assessed. The Court of Common
                                                              (CAA), it is not valid defense that defendant merely
Pleas, Montgomery County, sustained summary
                                                              owned building and contracted with another party
judgment motion against owner, and owner ap-
                                                              for removal of asbestos; both parties may be sued
pealed. The Court of Appeals, Brogan, J., held that
                                                              by Environmental Protection Agency (EPA) for
building owner is not entitled to seek indemnity on
                                                              civil penalties. Clean Air Act, §§ 112, 113, as
common-law grounds from contractor for civil pen-
                                                              amended, 42 U.S.C.A. §§ 7412, 7413.
alty imposed upon owner under CAA.
                                                              [3] Indemnity 208       75
       Affirmed.
                                                              208 Indemnity
       Frederick N. Young, J., filed concurring opin-
                                                                 208III Indemnification by Operation of Law
ion.
                                                                    208k73 Scope and Extent of Liability
       Fain, J., filed dissenting opinion.                                 208k75 k. Costs and Expenses. Most
                                                              Cited Cases
                      West Headnotes                             (Formerly 208k13.3)
                                                                  Allowing indemnity for attorney fees incurred
[1] Indemnity 208           74                                in defending against civil penalty action under
                                                              Clean Air Act (CAA) would have violated public
208 Indemnity
                                                              policy; it would have been inharmonious to disal-
   208III Indemnification by Operation of Law
                                                              low indemnification for civil penalty while allow-
      208k73 Scope and Extent of Liability
                                                              ing indemnification for fees incurred in connection
         208k74 k. In General. Most Cited Cases
                                                              with that penalty. Clean Air Act, §§ 112, 113, as
   (Formerly 208k13.1(2.1))
                                                              amended, 42 U.S.C.A. §§ 7412, 7413.
    Building owner may not seek, on common-law
grounds, indemnity from contractor for civil penal-           [4] Costs 102       194.25




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102 Costs                                                  real estate management company, owns and oper-
    102VIII Attorney Fees                                  ates several buildings in the Dayton area, including
          102k194.24 Particular Actions or Proceed-        two buildings which Beerman planned to have de-
ings                                                       molished. Alloyd Asbestos Abatement Company
               102k194.25 k. In General. Most Cited        (“Alloyd”) is a corporation in the business of re-
Cases                                                      moving asbestos from buildings.
     Building owner against whom civil penalties
were assessed in action under Clean Air Act (CAA)              On September 28, 1987, Beerman entered into
failed to establish applicability of any exception to      a contract with Cornett Trucking Company to de-
general rule that when multiple parties are defend-        molish a building at 22-34 East Third Street in
ants in litigation, each bears costs of his or her own     Dayton, Ohio. *272 Cornett subcontracted with Al-
defense. Clean Air Act, §§ 112, 113, as amended,           loyd to remove the asbestos from the building in ac-
42 U.S.C.A. §§ 7412, 7413.                                 cordance with Environmental Protection Agency
                                                           (“EPA”) standards prior to the demolition. The re-
[5] Indemnity 208        35                                cord does not contain a copy of the subcontract.

208 Indemnity                                                   On November 16, 1988, Beerman contracted
   208II Contractual Indemnity                             directly with Alloyd to remove asbestos from a
       208k34 Scope and Extent of Liability                building located at 14 South Main Street to prepare
          208k35 k. In General. Most Cited Cases           the building for demolition. That contract specified
   (Formerly 208k9(1))                                     the location of the asbestos to be removed and re-
     Building owner could have sought indemnifica-         quired the removal to be done in accordance with
tion from asbestos removal contractor, had there           applicable EPA regulations.
been contractual indemnification provision, for
civil penalties assessed against owner under Clean              Subsequent to Alloyd's removal of asbestos
Air Act (CAA). Clean Air Act, §§ 112, 113, as              from the building sites, inspectors from the Region-
amended, 42 U.S.C.A. §§ 7412, 7413.                        al Air Pollution Control Agency inspected both
                                                           buildings and found violations of environmental
                                                           laws and regulations. The alleged violations in-
           **1218 Concurring Opinion                       cluded failing to ensure that friable asbestos materi-
John Henry Phillips, Cincinnati, for appellant.            als which had been removed remained wet until dis-
                                                           posal, and also failing to remove friable asbestos
Gary W. Auman and Matthew D. Stokely, Dayton,
                                                           from the building prior to its demolition.
for appellee.
                                                                As a result of the violations, the federal EPA
BROGAN, Judge.                                             filed a civil action against Beerman and Alloyd in
     Appellant Beerman Realty Co. (“Beerman”)              United States District Court for violation of the
appeals from the decision of the Montgomery                Clean Air Act, Sections 7412-7413, Title 42,
County Court of Common Pleas sustaining a sum-             U.S.Code, and violation of the federal regulations
mary judgment motion against **1219 it. Beerman            for the removal of asbestos, the National Emission
raises three assignments of error on appeal, assert-       Standards      of    Hazardous     Air     Pollutants
                                                                                                           FN1
ing that the trial court's decision was contrary to        (“NESHAP”), Section 61.147, Title 40, C.F.R.
law.                                                       As relief, the EPA sought enjoinment of future viol-
                                                           ations and the assessment of civil penalties against
    This case arises from two asbestos removal             both Beerman and Alloyd individually.
projects conducted in Dayton, Ohio. Beerman, a




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         FN1. Pursuant to Section 112 of the Clean               On May 27, 1994, the trial court sustained Al-
         Air Act, Section 7412, Title 42, U.S.Code,         loyd's motion for summary judgment and overruled
         the Administrator of the EPA is required to        Beerman's motion for summary judgment. In so do-
         develop NESHAP. A violation of a NE-               ing, the trial court made the following findings: (1)
         SHAP standard constitutes a violation of           Beerman's attorney**1220 fees were not recover-
         the Clean Air Act. Section 7412, Title 42,         able under Ohio's general rule that when “multiple
         U.S.Code.                                          parties are defendants in litigation, each bears the
                                                            cost of his or her own defense”; (2) Beerman's
     The EPA subsequently settled its claim against         claim for recovery of the $10,000 civil penalty was
Beerman, which agreed to pay a $10,000 civil pen-           actually a claim for implied indemnity, which was
alty to the government as part of the settlement. At        unenforceable because such indemnity contravenes
the time of the trial court's decision in this case, the    the public policy underlying the Clean Air Act to
EPA had also settled its claim against Alloyd, con-         impose strict liability on both owners and operators
tingent upon Alloyd's paying a civil penalty of an          of demolition sites; and (3) genuine issues of mater-
undisclosed amount pending entry of a consent de-           ial fact existed as to whether Alloyd was liable to
cree. Neither Beerman nor Alloyd admitted any li-           Beerman for its unjust enrichment claim because
ability as part of their respective settlements with        the parties' intentions regarding the contract needed
the EPA.                                                    to be resolved.

     On September 27, 1993, Beerman filed a com-                 Beerman subsequently dismissed its claim for
plaint in the Montgomery County Court of Com-               unjust enrichment without prejudice in order to im-
mon Pleas against Alloyd for breach of contract and         mediately appeal the trial court's decision regarding
unjust enrichment. In its first two causes of action,       the recoverability of the civil penalty and attorney
Beerman alleged that it had suffered damages as a           fees. Beerman then filed a timely notice of appeal.
result of Alloyd's breach of contract for the asbes-
tos removal at both building sites. Beerman reques-             [1] Beerman raises three assignments of error
ted indemnification for the $10,000 civil penalty it        on appeal, claiming that the trial court's decision
had paid to the government, as well as the attorney         was contrary to law. As its first assignment of error,
fees of approximately $53,000 incurred by Beer-             Beerman raises the following:
man in defense of the EPA action. In its third cause
of action, Beerman alleged that Alloyd had been                 “I. The trial court erred in holding that Beer-
unjustly enriched by being paid additional amounts          man is not entitled to indemnification from Al-
over the contract price to finish removing asbestos         loyd.”
*273 from the South Main Street building after the
                                                                 In support of this assignment of error, Beerman
violations were discovered. Beerman sought to re-
                                                            argues that the public policy underlying the Clean
cover the additional $3,000 it paid Alloyd to re-
                                                            Air Act does not prohibit indemnification for civil
move the asbestos in compliance with the federal
                                                            penalties and, thus, Beerman should be entitled to
regulations.
                                                            proceed with its action for common-law indemni-
     On April 29, 1994, Beerman filed a motion for          fication against Alloyd. In opposition, Alloyd ar-
partial summary judgment on the issue of Alloyd's           gues that the trial court correctly held that public
liability for the breach of contract and unjust en-         policy prohibits indemnification for civil penalties
richment claims. On the same date, Alloyd filed a           under the Clean Air Act because the statute im-
motion for partial summary judgment on the issue            poses strict liability on both owners and operators
of recoverability of attorney fees.                         of demolition sites for violations of the Act.




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    In this case, Beerman, the owner of the build-         public policy underlying the Act, and we likewise
ings, and Alloyd, the operator of the asbestos re-         have found none. Further, we find that the cases
moval operation, were both sued for individual civil       cited by the parties in support of their respective
penalties by the EPA. Neither party disputes that          positions are clearly distinguishable from the
each was independently liable for these penalties. It      present case.
is well established that more than one party at a de-
molition site may be fined *274 for environmental               First, Beerman argues that United States v.
violations. The regulations clearly apply to both          Gen. Dynamics Corp. (N.D.Tex.1991), 755 F.Supp.
owners and operators of demolition operations and          720, stands for the proposition that indemnification
each violating party may be fined. See United              is allowed in an environmental civil penalty action.
States v. Geppert Bros., Inc. (E.D.Pa.1986), 638           However, we find that case to be distinguishable. In
F.Supp. 996.                                               General Dynamics, the indemnification was al-
                                                           lowed for civil penalties assessed pursuant to viola-
     [2] In Geppert Bros., the United States brought       tion**1221 of a state environmental law, not the
a civil penalty action against both the building own-      federal regulations. Further, the trial court did not
er and the asbestos removal contractor. The trial          address the public policy underlying the statute or
court struck the building owner's affirmative de-          whether the purpose of the statute would be de-
fense that he had contracted with the removal com-         feated by allowing indemnification.
pany to remove the asbestos in accordance with the
EPA standards and thus should not be held person-               Alloyd cites Geppert Bros. in support of its ar-
ally liable for any violations. The court held that        gument that indemnification should not be allowed.
both the building owner and the contractor were in-        As discussed above, we find that the Geppert Bros.
dividually liable for the violations. Thus, in a civil     case is also distinguishable. The court in Geppert
penalty action, it is not a valid defense that the de-     Bros. does not address the specific issue of indem-
fendant merely owned the building and contracted           nification.
with another party for the removal of the asbestos.
                                                                *275 We have found only two cases which ad-
Both parties may be sued by the EPA for civil pen-
                                                           dress the specific issue of indemnification in a civil
alties. In the present case, Beerman did not attempt
                                                           penalty action under the Clean Air Act. However,
to assert an affirmative defense in the original pen-
                                                           both cases arise in the context of a cross-claim in
alty action but, instead, has brought a subsequent
                                                           the original federal penalty action. Further, the
action for indemnification. Unfortunately, Geppert
                                                           cases do not reach the issue of whether such indem-
Bros. does not address the issue of whether an in-
                                                           nification violates public policy because the re-
demnification action may be brought.
                                                           spective trial courts in those cases decided the issue
     The issue for our resolution is whether a build-      on other grounds. See United States v. R.E.A.G.
ing owner may seek indemnification for civil penal-        (D.Conn.1989), 730 F.Supp. 482; United States v.
ties assessed against him under the federal Clean          Bank IV Kansas, N.A. (Dec. 23, 1993), D.Kan. No.
Air Act. The Clean Air Act and the asbestos NE-            93-2315-JWL, unreported, 1993 WL 545224. Thus,
SHAP are silent on the issue of whether a party            neither case is instructive as to the resolution of the
may seek indemnification for civil penalties as-           present case.
sessed pursuant to the Act. The statutes neither
                                                                As no controlling authority exists, we next turn
grant a right of indemnification nor prohibit it.
                                                           to the underlying purposes of the Clean Air Act to
Neither party has cited case law directly addressing
                                                           determine whether they would be defeated by al-
the question of whether indemnification for civil
                                                           lowing a building owner who has been forced to
penalties under the Clean Air Act would violate the
                                                           pay civil penalties for violations of that statute to




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receive indemnification for those penalties. The           building owner would still be encouraged to seek a
main purpose of the Clean Air Act is “to protect           reputable, dependable asbestos removal company
and enhance the quality of the Nation's air re-            even if indemnification were allowed. It may be ar-
sources so as to promote the public health and wel-        gued that the owner would still be inconvenienced
fare and the productive capacity of its population.”       by having to bring a subsequent action in state
Section 7401(b)(1), Title 42, U.S.Code. To achieve         court to recover the penalty, paying attorney fees
this purpose, the legislators drafted the civil penalty    and costs for the indemnification action, and fore-
provision to provide strict liability for violations of    going the use of the money he has paid for the civil
the Act:                                                   penalty until he recovers it, which potentially could
                                                           take months or years.
     “[T]he Act and the asbestos NESHAP provide
strict liability for civil violations of their provi-           However, in reality, most owners would likely
sions. This reading is supported by the language of        not suffer these inconveniences because they would
the Act, the legislative history of the Act and cases      not wait to assert a later state court action for in-
construing the Act and emission standards promul-          demnification. Instead, they could simply assert a
gated thereunder. Strict liability is essential to meet    cross-claim against the contractor in the federal ac-
the purpose of the Act to protect and improve the          tion. See R.E.A.G., supra; Bank IV Kansas, supra.
quality of the nation's air.” United States v. Ben's       Thus, the entire matter would be resolved in the
Truck & Equip., Inc. (E.D.Cal.1986), 25 En-                same action, and the owner would have little in-
vt.Rept.Cas. (BNA) 1295, 1298, 1986 WL 15402.              centive to ensure compliance**1222 with the provi-
                                                           sions of the Act because, although he might be
     Courts have consistently held that the civil pen-     primarily liable to the government for the original
alty provision imposes strict liability on both own-       payment of the civil penalty, he could recover any
ers and operators. Id.; Geppert Bros., supra; United       penalty assessed against him in the same action.
States v. Hugo Key & Son, Inc. (D.R.I.1989), 731
F.Supp. 1135; United States v. Tzavah Urban Re-                 Further, the legislative history of the civil pen-
newal Corp. (D.N.J.1988), 696 F.Supp. 1013.                alty provision of the Clean Air Act is also instruct-
                                                           ive. Although indemnification was not specifically
     The specific purpose of imposing strict liability     addressed, the committee developing the provision
on the building owner is to ensure that “owners of         specifically discussed the issue of whether to im-
property act responsibly in disposing of their build-      pose penalties only for “knowing” violations or to
ings. The regulations prevent the owner of a build-        impose them for all violations. H.R.Rept. No.
ing from avoiding liability for hazardous substances       94-1175, 94th Cong., 2d Sess., 52-55 (1976). In de-
present in a building by merely contracting with an-       ciding to impose strict liability even for accidental
other party to demolish the building.” Geppert             violations, the committee noted:
Bros., supra, 638 F.Supp. at 1000. This specific
purpose is obviously undermined by allowing a                   “[W]here protection of the public health is the
building owner to recover the civil penalty im-            root purpose of a regulatory scheme (such as the
posed, for if the building owner may escape liabil-        Clean Air Act), persons who own or operate pollu-
ity by merely contracting with another party for the       tion sources in violation of such health regulations
removal of the asbestos, then the owner has no in-         must be held strictly accountable. This rule of law
centive to act responsibly in disposing of his build-      was believed to be the only way to assure due care
ing by choosing a dependable contractor and taking         in the operation of any such source. Any other rule
measures to adequately supervise the work.                 would make it in the owner or operator's interest
                                                           not to have actual knowledge of the manner of op-
    *276 At first glance, it may appear that the           eration of the source. Moreover, in the Committee's




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view, the public health is injured just as much by a       ing United States v. Park (1975), 421 U.S. 658, 95
violation due to negligence or inaction as it is by a      S.Ct. 1903, 44 L.Ed.2d 489.
violation due to intent to circumvent the law. Thus,
the Committee believes that the remedial and de-                Further, the legislature specifically addressed
terrent purposes of the civil penalty provision            measures which could be taken by parties such as
would be better served by not limiting its applica-        building owners to avoid liability for accidental vi-
tion to ‘knowing’ violations.                              olations:

    “Fourth, the Committee intends to permit any               “In many instances, proper quality control,
argument about the violator's knowledge, intent,           maintenance, inspection, monitoring, repair, per-
negligence, or culpability to be considered by the         sonnel tests, or other measures can prevent or min-
courts in deciding how much to fine any violator,          imize the likelihood of such accidental violations.
rather than in determining whether any enforce-            The omission or inadequate execution of such pro-
ment action can be brought in the first place. ”           phylactic measures would be a proper basis for en-
(Emphasis added.) H.R.Rept. No. 94-1175, 94th              forcement under title I or title II of the Act (as ap-
Cong., 2d Sess., at 53.                                    propriate) just as surely as an intentional violation.”
                                                           H.R.Rept. No. 94-1175, 94th Cong., 2d Sess., at 54.
     *277 Thus, it seems that the legislature inten-
ded to impose a harsh regulatory scheme to ensure               In the present case, there is no indication that
compliance with the Act. As stated above, the legis-       Beerman did anything to ensure compliance other
lature intended for the federal court to consider          than contract with a company to have the asbestos
Beerman's good faith attempt to comply with the            removed. Although other compliance measures,
requirements in assessing the amount of the pen-           such as having another company monitor the asbes-
alty. However, it seems clear that the legislature did     tos removal work or inspect the result, may be ex-
not intend to allow an owner to escape all liability       pensive and seem unduly burdensome, it seems
even where the owner has attempted to comply.              clear that the legislature intended for such drastic
                                                           measures to be taken by building owners to ensure
     The legislature recognized that the imposition        compliance.
of the penalty on seemingly innocent parties may
produce a harsh result, but reasoned that such a                **1223 Upon reviewing the legislative history
measure was necessary to comply with the purposes          of the civil penalty provisions of the Act and case
of the Act:                                                law interpreting the purpose, we find that allowing
                                                           indemnification for civil penalties would violate the
     “ ‘[T]he Act imposes not only a positive duty         public policy and contravene the purpose of the
to seek out and remedy violations when they occur          Clean Air Act. The legislature recognized that the
but also, and primarily, a duty to implement meas-         provision was harsh, but *278 apparently found that
ures that will insure that violations will not occur.      the important purpose of the Act required such a
The requirements of foresight and vigilence [sic ]         strict result.
imposed on responsible corporate agents are bey-
ond question demanding, and perhaps onerous, but               Our finding is strengthened by analogy to the
they are no more stringent than the public has a           Clean Water Act. Courts have previously recog-
right to expect of those who voluntarily assume po-        nized that parity exists between the penalty provi-
sitions of authority in business enterprises whose         sions of the Clean Air Act and the Clean Water Act.
services and products affect the health and well-          See United States v. A.A. Mactal Constr. Co. (Apr.
being of the public that supports them.’ ” H.R.Rept.       10, 1992), D.Kan. No. 89-2372-V, unreported,
No. 94-1175, 94th Cong., 2d Sess., at 53-54, quot-         1992 WL 245690. In several cases, federal courts




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have held that indemnification for civil penalties             In support of this assignment of error, Beerman
under the Clean Water Act is not allowed. See An-          argues that, under implied indemnification, it
notation (1981), 55 A.L.R.Fed. 141, 178, Section           should be allowed to recover the attorney fees it in-
18. One district court, holding that such indemnific-      curred in defending against the civil penalty action
ation was not allowed, reasoned that “[t]he absence        as a result of Alloyd's alleged breach of contract.
of a third party defense in this penalty provision,        Alloyd argues that no such indemnification should
the language of the statutes, and the purposes of the      be allowed.
various remedies supplied to the Government, lead
to the conclusion that no indemnity right was con-              *279 In light of our resolution of the first as-
templated for the penalty imposed.” Tug Ocean              signment of error, we find that allowing indemni-
Prince, Inc. v. United States (S.D.N.Y.1977), 436          fication for the attorney fees incurred in defending
F.Supp. 907, 926; see, also, United States v. Tex-         against the civil penalty action would also violate
Tow, Inc. (C.A.7, 1978), 589 F.2d 1310; Montauk            public policy. We find it inharmonious to disallow
Oil Transm. Corp. v. Tug “El Zorro Grande” (June           indemnification for the civil penalty while allowing
15, 1993), S.D.N.Y. No. 5513, unreported, 1993             indemnification for the fees incurred in connection
WL 213037. We find the reasoning in these cases to         with that penalty.
be persuasive. Under the Clean Air Act, there is no
                                                                [4] Moreover, “[i]t is the general rule in this
provision for a third-party defense to the civil pen-
                                                           state that when multiple parties are defendants in
alties. Further, the legislative history of the Act and
                                                           litigation, each bears the costs of his or her own de-
case law interpreting the Act indicate that the legis-
                                                           fense.” Krasny-Kaplan Corp. v. Flo-Tork, Inc.
lature intended to impose a harsh and strict penalty.
                                                           (1993), 66 Ohio St.3d 75, 609 N.E.2d 152. Al-
Although we recognize that not allowing indemni-
                                                           though significant exceptions to this rule exist,
fication may seem to impose an unfair burden on a
                                                           Beerman has not demonstrated that any of them ap-
building owner who has attempted to comply with
                                                           ply to the present case.
the provisions, we find that the underlying purpose
of the statute dictates such a result.                         Beerman's second assignment of error is over-
                                                           ruled.
    It is well established that indemnification will
not be allowed if such indemnification violates pub-            As its third assignment of error, Beerman raises
lic policy. See Worth v. Aetna Cas. & Sur. Co.             the following:
(1987), 32 Ohio St.3d 238, 513 N.E.2d 253; Cincin-
nati Ins. Co. v. Diebold, Inc. (1989), 64 Ohio                 “III. The trial court erred by not granting Beer-
App.3d 273, 581 N.E.2d 566.                                man's motion for summary judgment as to liability
                                                           against Alloyd for breach of contract.”
     Accordingly, we find that, because allowing a
subsequent action for indemnification for the recov-           **1224 In support of this assignment of error,
ery of a civil penalty contravenes public policy,          Beerman argues that no genuine issues of material
Beerman is not entitled to pursue its indemnifica-         fact exist regarding whether Alloyd breached its
tion claim in this case. Appellant's first assignment      contract to remove asbestos from the buildings.
of error is overruled.
                                                               We find it unnecessary to consider this assign-
     [3] As its second assignment of error, Beerman        ment of error. In our disposition of Beerman's first
raises the following:                                      and second assignments of error, we found that
                                                           Beerman would not be entitled to recover the civil
   “II. The trial court erred in holding that Beer-        penalty or the attorney fees regardless of whether
man could not recover its attorneys' fees.”                Alloyd had actually breached the contract. Addi-




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tionally, Beerman has voluntarily dismissed its                 In my view, public policy does not clearly pre-
claim against Alloyd for unjust enrichment. Ac-            clude an owner from obtaining indemnification
cordingly, Beerman's third assignment of error is          from an asbestos removal company when the lat-
overruled.                                                 ter's breach of a contract with the owner proxim-
                                                           ately causes the imposition of a civil penalty
    The judgment of the trial court is affirmed.           against the owner. Because the marketplace is tradi-
                                                           tionally the preferred arena for finding the most
    Judgment affirmed.
                                                           economically efficient way in which to accomplish
YOUNG, J., concurs.                                        an objective, I would not restrict the parties' free-
FAIN, J., dissents.                                        dom to contract in the absence of a clear public
FREDERICK N. YOUNG, Judge, concurring.                     policy basis for doing so.
     [5] I write separately to note my concurrence
                                                                Tug Ocean Prince, Inc. v. United States
with both (a) the well-reasoned opinion of Judge
                                                           (S.D.N.Y.1977), 436 F.Supp. 907, involved the
Brogan that for reasons of public policy a building
                                                           Clean Water Act, which I concede to be analogous
owner is not entitled to seek on common-law
                                                           to the Clean Air Act. In that case, the trial court
grounds indemnity from a contractor for a civil
                                                           elected to remand the cause to the United States
penalty imposed on the owner for violations of the
                                                           Coast Guard for consideration of the mitigation of
Clean Air Act and (b) the *280 dissenting opinion
                                                           an owner's liability because of diminished culpabil-
of Judge Fain that the operation of the marketplace
                                                           ity, rather than to impose indemnification against
should allow indemnification on contract grounds
                                                           the operator who caused the spill. The trial court
from a contractor that has agreed to indemnify the
                                                           seems to have held that indemnification was not
building owner. In the latter case, the owner has
                                                           provided for by the Clean Water Act, rather than
presumably paid a premium for that indemnity
                                                           that indemnification as a matter of express or im-
agreement and has every incentive to award the
                                                           plied contract would violate public policy.
contract to a financially sound, and therefore more
likely successful, contractor. By the same token, a             In United States v. Tex-Tow, Inc. (C.A.7,
contractor that offers indemnification to an owner         1978), 589 F.2d 1310, 1314-1315, the court ex-
has a greater incentive to perform the contract prop-      pressly disclaimed making any decision with re-
erly under the strictures of the Clean Air Act than if     spect to an owner's indemnification by a third party.
it were not held to account for both its own liability     The court merely held that an owner is strictly *281
and the owner's liability.                                 liable for the civil penalty, even though the viola-
                                                           tion may have been caused by an independent actor.
     The public policy behind the Clean Air Act
would be even better served if contractual indemni-             The public's interest in safe, effective removal
fication is allowed because of the added incentive         of asbestos from buildings containing it is best
for the owner to find a responsible contractor and         served by allowing companies specializing in as-
the increased incentive for a contractor to do the         bestos removal to compete freely in the market-
job properly. Those incentives do not exist if the         place, to assure owners, as part of that competition,
owner can obtain a common-law indemnity or the             that they can safely and effectively accomplish the
contractor is irresponsible financially or otherwise.      removal of **1225 asbestos, and to back up that as-
Because I find no contractual indemnification pro-         surance with an agreement to indemnify the owner
vision in the record before us, affirmance is the          for any liability which it may incur as a result of the
proper decision.                                           job's not being properly done. Preventing indemni-
                                                           fication restricts freedom of contract, and, in my
FAIN, Judge, dissenting.
                                                           view, interferes with the ability of the marketplace




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to establish and to identify those companies that
can safely and effectively remove asbestos from
older buildings.

     It is true that the availability of indemnification
as a possible offset to an owner's liability for a civil
penalty will have a tendency to reduce the owner's
incentive once he has found an asbestos removal
company in good financial standing. But, by the
same token, the ability of the asbestos removal
company to offer indemnification to the owner will
enhance the incentive of the asbestos removal com-
pany to do a good job, and it is in the best position
to ensure that the asbestos is removed safely and ef-
fectively. I find no clear public policy in favor of
restricting the ability of a company like Alloyd to
offer the owner of a building indemnification for
any liability to which the owner may be exposed as
a result of the job of asbestos removal being im-
properly performed.

     I would reverse the summary judgment in favor
of Alloyd, and remand this cause for a trial on both
the issue of Alloyd's liability for indemnification of
the civil penalty imposed against Beerman, and the
issue of Alloyd's liability for the attorney fees in-
curred by Beerman in defense of the action against
it for the civil penalty. In my view, a reasonable
jury might find both components of liability to have
been reasonably foreseeable as consequential dam-
ages as a result of Alloyd's alleged breach of con-
tract.

Ohio App. 2 Dist.,1995.
Beerman Realty Co. v. Alloyd Asbestos Abatement
Co.
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                                                                  170AII(G) Bringing in New Parties; Third-
                                                          Party Proceedings
           United States District Court,                             170Ak287 k. Liability of Third Party in
                  D. Minnesota,                           General. Most Cited Cases
                 Fifth Division.                              Impleader is available only if there is underly-
                                                          ing substantive right to pursue claim for relief
     UNITED STATES of America, Plaintiff,
                                                          against    third-party    defendant.      Fed.Rules
                   v.
                                                          Civ.Proc.Rule 14(a), 28 U.S.C.A.
 J & D ENTERPRISES OF DULUTH, Defendant.
                                                          [3] Federal Civil Procedure 170A          281
          Civ. No. 5-95-298 (PAM/RLE).
                   Feb. 5, 1997.                          170A Federal Civil Procedure
                                                             170AII Parties
    United States brought Clean Air Act (CAA) ac-
                                                                  170AII(G) Bringing in New Parties; Third-
tion against contractor, seeking civil penalties for
                                                          Party Proceedings
violations of asbestos removal regulations during
                                                                        170Ak281 k. In General. Most Cited
demolition of warehouse owned by city. Contractor
                                                          Cases
moved for leave to file third-party complaint
                                                              State law governs impleader determination, in
against city. The District Court, Erickson, United
                                                          federal question jurisdiction case, where third-party
States Magistrate Judge, held that public policy
                                                          complaint is not itself based on federal law.
prohibited indemnification for CAA civil penalties.
                                                          Fed.Rules Civ.Proc.Rule 14(a), 28 U.S.C.A.
    Motion denied.
                                                          [4] Contribution 96        1
                 West Headnotes
                                                          96 Contribution
[1] Federal Civil Procedure 170A           287               96k1 k. Nature and Grounds of Obligation. Most
                                                          Cited Cases
170A Federal Civil Procedure                                  Under Minnesota law, “contribution” allows
    170AII Parties                                        one to recover proportionate share from other liable
         170AII(G) Bringing in New Parties; Third-        party.
Party Proceedings
            170Ak287 k. Liability of Third Party in       [5] Indemnity 208        20
General. Most Cited Cases
                                                          208 Indemnity
     For proper impleader to occur, third-party
                                                             208I In General
plaintiff must implead person against whom it can
                                                                  208k20 k. Nature of Obligation. Most Cited
assert claim of joint or secondary liability, that
                                                          Cases
arises out of plaintiff's claim against third-party
                                                             (Formerly 208k1)
plaintiff. Fed.Rules Civ.Proc.Rule 14(a), 28
                                                              Under Minnesota law, “indemnity” is right of
U.S.C.A.
                                                          one party held liable to another to shift entire bur-
[2] Federal Civil Procedure 170A           287            den of liability to third party also liable for same
                                                          harm; unlike contribution, it does not require com-
170A Federal Civil Procedure                              mon liability, but arises out of contractual relation-
   170AII Parties                                         ship, either express or implied by law, which re-
                                                          quired one party to reimburse the other entirely.




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[6] Indemnity 208          59                                       208k20 k. Nature of Obligation. Most Cited
                                                            Cases
208 Indemnity                                                  (Formerly 208k1)
   208III Indemnification by Operation of Law                   Under Minnesota law, indemnity is not permit-
          208k56 Right of One Compelled to Pay              ted where its application would contravene public
Against Person Primarily Liable                             policy.
             208k59 k. Relative Culpability. Most
Cited Cases                                                 [9] Environmental Law 149E           284
   (Formerly 208k13.2(2), 208k13.2(1))
                                                            149E Environmental Law
Indemnity 208         61                                       149EVI Air Pollution
                                                                   149Ek275 Particular Pollutants
208 Indemnity                                                         149Ek284 k. Asbestos. Most Cited Cases
    208III Indemnification by Operation of Law                   (Formerly 199k25.6(5.1) Health and Environ-
           208k56 Right of One Compelled to Pay             ment)
Against Person Primarily Liable                                  Purpose of National Emission Standard for
                208k61 k. Secondary Liability. Most         Hazardous Air Pollutant (NESHAP) regulation for
Cited Cases                                                 asbestos is to ensure that buildings containing as-
    (Formerly 208k13.2(2), 208k13.2(1))                     bestos are demolished in such way as to minimize
     Under Minnesota law, absent an express con-            release of asbestos dust into air. Clean Air Act, §
tractual provision, indemnity is recognized where           113(b), as amended, 42 U.S.C.A. § 7413(b); 40
one seeking indemnity has only derivative or vicari-        C.F.R. § 61.145.
ous liability for damage caused by one sought to be
charged, where one seeking indemnity has incurred           [10] Indemnity 208        64
liability by action at direction, in interest of, and in
reliance upon one sought to be charged, and where           208 Indemnity
one seeking indemnity has incurred liability be-               208III Indemnification by Operation of Law
cause of breach of duty owed to him by one sought                  208k63 Particular Cases and Issues
to be charged.                                                        208k64 k. In General. Most Cited Cases
                                                               (Formerly 208k15(2))
[7] Indemnity 208          20                                    Contractor's action for indemnification, so as to
                                                            secure proportionate share of Clean Air Act (CAA)
208 Indemnity                                               civil penalties against warehouse owner for asbes-
    208I In General                                         tos violations during demolition of building, was
         208k20 k. Nature of Obligation. Most Cited         not cognizable under Minnesota law. Clean Air
Cases                                                       Act, § 112, as amended, 42 U.S.C.A. § 7412; 40
    (Formerly 208k1)                                        C.F.R. § 61.145.
     Under Minnesota law, indemnification is gov-
erned by judicial concepts of equity, and as con-           [11] Damages 115         87(1)
sequence, indemnity does not lend itself to hard-
and-fast rules and its application depends upon par-        115 Damages
ticular facts of each case.                                     115V Exemplary Damages
                                                                    115k87 Nature and Theory of Damages Ad-
[8] Indemnity 208          20                               ditional to Compensation
                                                                          115k87(1) k. In General. Most Cited
208 Indemnity                                               Cases
   208I In General




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Damages 115         92                                          A Hearing on the Motion was conducted on
                                                                          FN1
                                                           May 30, 1996,       at which time the Government
115 Damages                                                appeared by Friedrich A.P. Siekert, Assistant
   115V Exemplary Damages                                  United States Attorney, and J & D appeared by Car-
       115k92 k. Persons for or Against Whom Ex-           rie C. Green, Esq.
emplary Damages May Be Awarded. Most Cited
Cases                                                               FN1. Following the close of the Hearing,
    Under Minnesota law, public policy is not                       we afforded the parties the opportunity to
served by permitting transfer of responsibility for                 submit supplemental submissions on issues
payment of punitive damages to another, as purpose                  that were raised during the course of oral
of punitive damages is lost when such damages are                   argument.
paid by another on defendant's behalf.
                                                               For reasons which follow, we deny the Motion.
[12] Indemnity 208        30(1)
                                                                           II. Factual Background
208 Indemnity                                                   In this action, the Government seeks to impose
    208II Contractual Indemnity                            civil penalties against J & D for alleged violations
       208k26 Requisites and Validity of Contracts         of Sections 112 and 114 of the Clean Air Act. See,
             208k30 Indemnitee's Own Negligence or         Title 42 U.S.C. §§ 7412 and 7414. The alleged viol-
Fault                                                      ations occurred in connection with the demolition
                208k30(1) k. In General. Most Cited        of an abandoned warehouse, that was owned by St.
Cases                                                      Paul, and that was located at 923 Shepard Road in
    (Formerly 208k8.1(1))                                  St. Paul.
     Under Minnesota law, if party is to seek indem-
nification for its own negligence, there must be ex-            By way of additional background, on May 26,
press provision in contract to indemnify indemnitee        1987, St. Paul condemned the warehouse *1155 in
for liability occasioned by its own negligence; such       order to facilitate a proposed expansion of Shepard
obligation will not be found by implication.               Road, and the City decided to have the warehouse
                                                           demolished. After a potential bidder complained
*1154 Friedrich A.P. Siekert, Asst. U.S. Atty., Min-       about the presence of asbestos, St. Paul inspected
neapolis, MN, for U.S.                                     the site and obtained samples to determine the pres-
                                                           ence of asbestos-containing materials. Testing re-
Carrie C. Green, Minneapolis, MN, for J & D En-            vealed that certain ceiling panels contained asbestos
terprises of Duluth.                                       at a “hazardous level.” Based upon this testing, St.
                                                           Paul revised its bid specifications to require, among
                        ORDER                              other things, the removal of the asbestos prior to the
ERICKSON, United States Magistrate Judge.                  start of demolition. Among the five bids that were
                    I. Introduction                        received by St. Paul, for the demolition of the ware-
     This matter came before the undersigned               house, J & D's lump sum bid of $18,420, which in-
United States Magistrate Judge pursuant to a gener-        cluded $2,200 for the removal of asbestos, was de-
al assignment, made in accordance with the provi-          termined to be the lowest. In August of 1991, St.
sions of Title 28 U.S.C. § 636(b)(1)(A), upon the          Paul contracted with J & D to raze the warehouse
Motion of the Defendant J & D Enterprises of Du-           and, on September 18, 1991, J & D commenced the
luth, Inc. (“J & D”) for an Order granting it leave to     demolition process.
serve a Summons and Third-Party Complaint upon
                                                               According to the Government, in demolishing
the City of St. Paul, Minnesota (“St.Paul”).




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the warehouse, J & D violated a number of the Fed-                  material.”
eral regulations which govern the removal of asbes-
tos. Specifically, the Complaint alleges that J & D                 FN5. Title 40 C.F.R. § 61.145(c)(3) re-
failed to provide sufficient notice of the contem-                  quires each owner or operator of a demoli-
                    FN2                                             tion or renovation activity to “adequately
plated demolition,        that it submitted a deficient
notice of the demolition after the razing had began,                wet the RACM” when it is “stripped from
FN3                                                                 a facility component while it remains in
      that it failed to remove all of the “Regulated
Asbestos Containing Materials (‘RACM’)” before                      place in the facility.”
                                   FN4
the demolition was undertaken,          that it failed to
                                                                    FN6. Title 40 C.F.R. § 61.145(c)(6)(i) re-
adequately wet the RACM when it was stripped
                       FN5                                          quires each owner or operator of a demoli-
from the warehouse,         and that it failed to ensure
                                                                    tion or renovation activity to ensure that
that the RACM remained wet until it was collected
                FN6                                                 RACM, which has been removed or
and contained.        In addition, the Government al-
                                                                    stripped, “remains wet until collected and
leges that J & D violated Section 114 of the Act,
                                                                    contained or treated in preparation for dis-
Title 42 U.S.C. § 7414, when it submitted inaccur-
                                                                    posal.”
ate answers in response to a formal Request for In-
formation. For relief, the Government seeks civil                In the Motion before us, J & D seeks leave
penalties for each violation, in an amount of up to         from the Court to serve and file a Third-Party Com-
$25,000 for each day of violation, together with a          plaint against St. Paul. In the proposed Third-Party
permanent injunction that would require J & D to            Complaint, J & D seeks indemnity for all of the
fully comply with any pertinent asbestos regula-            civil penalties that may be assessed in this action,
tions.                                                      and that arise from the demolition of the ware-
                                                            house. J & D bases its indemnity claim on each of
         FN2. Title 40 C.F.R. § 61.145(b) requires
                                                            the following theories: breach of contract, breach of
         that “[e]ach owner or operator of a demoli-
                                                            an implied warranty, and negligent misrepresenta-
         tion or renovation activity * * * shall:
                                                            tion. Specifically, the proposed Third-Party Com-
         (1)[p]rovide the Administrator with written
                                                            plaint alleges that the contract between St. Paul and
         notice of intention to demolish or renov-
                                                            J & D delegated the notification and asbestos re-
         ate.”
                                                            moval responsibilities to St. Paul; that St. Paul, as
         FN3. Title 40 C.F.R. § 61.145(b)(4) re-            the owner of the warehouse, breached its implied
         quires a notice of demolition to contain,          warranty of site access; and lastly, that St. Paul
         among other details, the procedure that            negligently misrepresented the scope of the work
         will be employed to detect the presence of         that was required under the demolition contract.
         “Regulated Asbestos Containing Materials
                                                                               III. Discussion
         (‘RACM’)”, the scheduled starting and
                                                                A. Standard of Review. Rule 14(a), Federal
         completion dates for the demolition, and
                                                            Rules of Civil Procedure, provides the procedural
         the location of the waste disposal site
                                                            mechanism by which a party may assert a Third-
         where the RACM will be deposited.
                                                            Party claim. Rule 14(a) states, in relevant part:
         FN4. Title 40 C.F.R. § 61.145(c)(1) re-
                                                              At any time after commencement of the action a
         quires each owner or operator of a demoli-
                                                              defending party, as a third-party plaintiff, may
         tion or renovation activity to “[r]emove all
                                                              cause a summons and complaint*1156 to be
         RACM from a facility being demolished or
                                                              served upon a person not a party to the action
         renovated before activity begins that would
                                                              who is or may be liable to the third-party plaintiff
         break up, dislodge, or similarly disturb the




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  for all or part of the plaintiff's claim against          95 F.R.D. 527, 528 (N.D.Ill.1982) (impleader im-
  third-party plaintiff. The third-party plaintiff need     proper where governing substantive law did not al-
  not obtain leave to make the service if the third-        low for indemnity or contribution).
  party plaintiff files the third-party complaint not
  later than 10 days after serving the original an-              B. Legal Analysis. Given these precepts, J &
  swer. Otherwise, the third-party plaintiff must           D's proposed Third-Party Complaint is proper only
  obtain leave on motion upon notice to all parties         if St. Paul “is or may be liable” to J & D for all, or
  to the action.                                            part, of any civil penalties that J & D may be as-
                                                            sessed in this action. By its proposed Third-Party
     The governing law makes clear that Rule 14(a)          Complaint, J & D alleges a right to indemnity from
should be liberally construed in favor of impleading        St. Paul. Whether a substantive claim may properly
a third-party, see, United of Omaha Life Ins. Co. v.        be pursued against a third-party, including one for
Reed, 649 F.Supp. 837 (D.Kan.1986), as its purpose          indemnification, is a substantive rather than a pro-
is to avoid a circuity of actions and a multiplicity of     cedural question.
suits, see, Dixon v. Northwestern National Bank,
275 F.Supp. 582 (D.Minn.1967), in order that all                 [3] While it is well-established that, in a di-
related claims may be disposed of in one action,            versity action, a Federal Court must apply State law
id.; Patten v. Knutzen, 646 F.Supp. 427                     in determining whether there is a substantive right
(D.Colo.1986), and thereby simplify, and expedite,          to recovery, see, Leppala v. Sawbill Canoe Outfit-
the litigation process. Blais Construction Co., Inc.        ters, Inc., 361 F.Supp. 409, 410 (D.Minn.1973),
v. Hanover Square Associates-I, 733 F.Supp. 149,            “[t]he fact that a case is brought in federal court on
152 (N.D.N.Y.1990); Waylander-Peterson Co. v.               the basis of federal question jurisdiction does not
Great Northern Ry. Co., 201 F.2d 408 (8th                   mean that state law on indemnification or contribu-
Cir.1953).                                                  tion is irrelevant.” 3 J. Moore, Moore's Federal
                                                            Practice ¶ 14.03[3] at 14-25. Indeed, State law gov-
     [1][2] For a proper impleader to occur, the            erns the impleader determination where, as here,
third-party plaintiff must implead a person against         the Third-Party Complaint is not itself based upon
whom it can assert a claim of joint or secondary li-        Federal law. See, e.g., Kennedy v. Pennsylvania
ability, that arises out of the plaintiff's claim against   R.R., 282 F.2d 705, 709 (3rd Cir.1960) (in an action
the third-party plaintiff. See, Erickson v. Erickson,       commenced under the Federal Employers' Liability
849 F.Supp. 453, 456 (S.D.W.Va.1994); Greene                Act, State law doctrine of comparative negligence
Line Mfg. Corp. v. Fibreboard Corp., 130 F.R.D.             governed the defendant's third-party complaint) Ac-
397, 399 (N.D.Ind.1990). Otherwise stated, the              cordingly, whether St. Paul may be liable to J & D
third-party plaintiff must show that, if it is found to     for the claims that have been alleged in the Govern-
be liable to the plaintiff, then the third-party de-        ment's Complaint, must be determined under Min-
                                                                                             FN7
fendant is, or may be, liable to it. Resolution Trust       nesota's law of indemnification.
Corp. v. Farmer, 836 F.Supp. 1123, 1129
(E.D.Pa.1993). However, Rule 14 does not itself                      FN7. We are mindful that, in certain lim-
provide a substantive theory of recovery, for an im-                 ited situations, Federal law may allow a
pleader is available only if there is an underlying                  claim for contribution or indemnification,
substantive right to pursue a claim for relief against               either by Congressional creation or
the third-party defendant. See, Kim v. Fujikawa,                     through the power of the Federal Courts to
871 F.2d 1427, 1434 (9th Cir.1989); Green v.                         fashion a Federal common law remedy.
United States Department of Labor, 775 F.2d 964,                     See, e.g., Texas Industries, Inc. v. Radcliff
971 n. 7 (8th Cir.1985); Ragusa v. City of Streator,                 Materials, Inc., 451 U.S. 630, 638, 101
                                                                     S.Ct. 2061, 2065-66, 68 L.Ed.2d 500




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         (1981). Here, however, J & D makes clear            caused by the one sought to be charged;
         that its proposed third-party claims are
         founded solely upon State law. Of course,           2) Where the one seeking indemnity has incurred
         the lack of a Federal cause of action does          liability by action at the direction, in the interest
         not necessarily preclude the existence of           of, and in reliance upon the one sought to be
         State law remedies. Baker, Watts & Co. v.           charged; and
         Miles & Stockbridge, 876 F.2d 1101, 1106
                                                             3) Where the one seeking indemnity has incurred
         (4th Cir.1989).
                                                             liability because of a breach of duty owed to him
     *1157     [4][5]     Under     Minnesota     law,       by the one sought to be charged.
“[i]ndemnity and contribution are both remedies
                                                               Tolbert v. Gerber Indus., Inc., supra at 367.
based on equitable principles to secure restitution to
one who has paid more than his just share of a liab-            According to J & D, each of the three theories
ility.” Hermeling v. Minnesota Fire & Cas. Co.,            of liability, which have been alleged in the pro-
548 N.W.2d 270, 273 n. 1 (Minn.1996), quoting              posed Third-Party Complaint, falls within one of
White v. Johnson, 272 Minn. 363, 367, 137 N.W.2d           the foregoing categorizations.
674, 677 (1965), overruled on other grounds, Tol-
bert v. Gerber Indus., Inc., 255 N.W.2d 362 (1977).             [7][8]    Nevertheless,     indemnification      is
In contrast to contribution, which allows one to re-       “governed by judicial concepts of equity.” Allum v.
cover a proportionate share from the other liable          MedCenter Health Care, Inc., 371 N.W.2d 557, 560
party, “[i]ndemnity is the right of one party held li-     (Minn.App.1985), quoting Olson v. Village of Bab-
able to another to shift the entire burden of liability    bitt, 291 Minn. 105, 111, 189 N.W.2d 701, 706
to a third party also liable for the same harm.” Ner-      (1971). As a consequence, indemnity “does not
enhausen v. Chicago, M., St. P. & Pac. R. Co., 479         lend itself to hard-and-fast rules, and its application
F.Supp. 750, 756 (D.Minn.1979), citing Hendrick-           depends upon the particular facts of each case.”
son v. Minnesota Power & Light Co., 258 Minn.              Zontelli & Sons v. City of Nashwauk, 373 N.W.2d
368, 371, 104 N.W.2d 843, 846-47 (1960), over-             744, 744 (Minn.1985). Indemnity is not permitted,
ruled on other grounds, Tolbert v. Gerber Indus.,          however, where its application would contravene
Inc., supra. Moreover, unlike contribution,                public policy. Id., citing Northern Pacific Railway
“[i]ndemnity does not require common liability, but        Co. v. Thornton Bros. Co., 206 Minn. 193, 196, 288
arises out of a contractual relationship, either ex-       N.W. 226, 227 (1939); Independent School Dist.
press or implied by law, which requires one party to       No. 877 v. Loberg Plumbing & Heating Co., 266
reimburse the other entirely.” Hermeling v. Min-           Minn. 426, 434, 123 N.W.2d 793, 799 (1963)
nesota Fire & Cas. Co., supra at 273 n. 1.                 (contract provisions that violate public policy are
                                                           void).
     [6] Minnesota Courts recognize the right to in-
demnity among joint tortfeasors in four situations,             Accordingly, we are to determine whether, un-
only three of which depend upon an express con-            der Minnesota law, public policy prohibits indemni-
tractual provision. Hendrickson v. Minnesota               fication for civil penalties under the Clean Air Act.
Power & Light Co., supra at 373, 104 N.W.2d 843,           In making this determination, we address the under-
modified by Tolbert v. Gerber Indus., Inc., supra at       lying purposes of the Clean Air Act, and then we
367. Therefore, absent an express contractual provi-       turn to those Minnesota decisions which have ad-
sion, indemnity is recognized:                             dressed the same, or similar, policy concerns in the
                                                           context of indemnification.
  1) Where the one seeking indemnity has only a
  derivative or vicarious liability for damage                 The purpose of the Clean Air Act is “to protect




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and enhance the quality of the Nation's air re-            ished or renovated or any person who owns, leases,
sources.” Title 42 U.S.C. § 7401(b)(1). As a part of       operates, controls or supervises the demolition or
                                                                                                            FN8
a strategy to protect the Nation's air quality, the Act    renovation, or both.” Title 40 C.F.R. § 61.141.
requires the Administrator of the EPA to prescribe         As is clear, an organization that has control over an
an emission standard for asbestos, which Congress          asbestos removal project qualifies as an “operator,”
has deemed to be a hazardous air pollutant. Title 42       as that term is used in the Statute. Adair v. Troy
U.S.C. § 7412(d). To enforce compliance with these         State University of Montgomery, 892 F.Supp. 1401,
emission standards, Section 113 of the Act gives           1409 n. 9 (M.D.Ala.1995).
the Administrator of the EPA authority to com-
mence a civil action to recover civil penalties                    FN8. For reasons that are not disclosed in
whenever she finds that an owner or operator viol-                 the Record, the Government chose not to
ates, or fails to comply with, any National Emission               seek civil penalties against St. Paul, not-
Standard for Hazardous Air Pollutant (“NESHAP”)                    withstanding the City's status as the owner
regulation. Title 42 U.S.C. § 7413(b). Although the                of the warehouse. Of course, there need
Clean Air *1158 Act is a civil and not a criminal                  not be a legal relationship between the
statute, the penalties imposed pursuant to its author-             plaintiff and the putative third-party de-
ity “can be considered quasi-criminal.” U.S. v. Tza-               fendant in order for the defendant to assert
vah Urban Renewal Corp., 696 F.Supp. 1013, 1021                    a proper impleader and, therefore, the fact
(D.N.J.1988).                                                      that the Government chose not to seek civil
                                                                   penalties against St. Paul is largely irrelev-
     [9] The purpose of the asbestos NESHAP regu-                  ant to our analysis. See, e.g., Smithkline
lation, which is implicated in this case, “is to ensure            Beckman Corp. v. Pennex Products Co.,
that buildings containing asbestos are demolished                  103 F.R.D. 539, 541 (E.D.Pa.1984) (“It is
in such a way as to minimize the release of asbestos               not relevant to the defendant's right to
dust into the air.” United States v. Geppert Bros.,                bring in a third-party defendant, that the
Inc., 638 F.Supp. 996, 1000 (E.D.Pa.1986). To                      plaintiff * * * declines to assert a claim
achieve this purpose, the asbestos NESHAP im-                      against him.”), quoting 3 J. Moore,
poses obligations on both the owner and the operat-                Moore's Federal Practice ¶ 14.10 at 14-62.
or of the demolition project. For example, in United
States v. Geppert Bros., the EPA brought a civil ac-            In furthering the statutory purpose of improv-
tion for violations of the Clean Air Act, which were       ing the quality of the Nation's air, the Act, and the
generated by a demolition project, against both the        asbestos NESHAP, provide strict liability for civil
demolition contractor and the owner of the build-          violations. See, e.g., United States v. B & W Inv.
ing. The owner raised, as an affirmative defense,          Properties, 38 F.3d 362, 367 (7th Cir.1994)
that it could not be liable for the violations because     (“Having been deemed an owner or operator,
it had contracted with the operator to do the actual       [defendant] has no valid challenge against applica-
work involved in razing the structure. In rejecting        tion of the Act, regardless of how minimal the com-
this defense, the Court concluded that the regula-         pany's responsibilities or knowledge might actually
tions were intended to apply to both the owner of          have been.”), cert. denied, 514 U.S. 1126, 115 S.Ct.
the building being razed, and the operator of the de-      1998, 131 L.Ed.2d 1000 (1995). In this respect, the
molition project.                                          legislative history, which accompanies the 1977
                                                           Amendments to the Clean Air Act, reflects Con-
    Under the Act, the term “owner or operator” is         gress' rationale for establishing a strict liability
defined as any person “who owns, leases, operates,         scheme, as follows:
controls, or supervises the facility being demol-
                                                             “[W]here protection of the public health is the




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  root purpose of a regulatory scheme (such as the          settled Minnesota law that indemnification will not
  Clean Air Act), persons who own or operate pol-           be allowed if its application would violate public
  lution sources in violation of such health regula-        policy.
  tions must be held strictly accountable. This rule
  of law was believed to be the only way to assure               In Zerby v. Warren, 297 Minn. 134, 143, 210
  due care in the operation of any such source. Any         N.W.2d 58, 64 (Minn.1973), the Minnesota Su-
  other rule would make it in the owner or operat-          preme Court considered the validity of a contractual
  or's interest not to have actual knowledge of the         indemnity provision in the context of a strict liabil-
  manner of operation of the source. Moreover, in           ity, statutory claim. There, in a wrongful death ac-
  the Committee's view, the public health is injured        tion, the seller of glue sought contractual indemnity
  just as much by a violation due to negligence or          from the manufacturer of the product. At issue was
  inaction as it is by a violation due to intent to cir-    a Minnesota Statute that made the sale of intoxicat-
  cumvent the law. Thus, the Committee believes             ing glue, to a minor, a violation of State law. In the
  that the remedial and deterrent purposes of the           Court's view, the legislature had concluded that, in
  civil penalty would be better served by not limit-        the interest of the public welfare, minors should not
  ing its application to ‘knowing’ violations.”             be sold glue which contained specific harmful in-
                                                            gredients. In denying the seller's claim for indem-
    H.R.Rep. No. 94-1175, 94th Cong., 2d Sess. at           nity, the Court reasoned that “[a]ny agreement
52 (1976).                                                  which relieves the defendants of the consequences
                                                            of the violation of the public policy imposed by
     As demonstrated by the following Committee             [the statutory provision] is against public policy.”
note, Congress recognized that the imposition of a          Id. at 144, 210 N.W.2d 58. While the Court recog-
civil penalty upon an ‘unknowing’ party might pro-          nized that a party may contract so as to seek indem-
duce a harsh result, but reasoned that such a meas-         nity against its own negligent acts, a contract may
ure was necessary in order to advance the purposes          not relieve a person from the discharge of an abso-
of the Act:                                                 lute duty that has been imposed by law for the pro-
                                                            tection of others. Id. at 143-44, 210 N.W.2d 58. As
  *1159 “ ‘[T]he Act imposes not only a positive
                                                            with the defendant in Zerby, J & D seeks indemni-
  duty to seek out and remedy violations when they
                                                            fication in an effort to relieve itself from the con-
  occur but also, and primarily, a duty to imple-
                                                            sequences of having, purportedly, violated a stat-
  ment measures that will assure that violations
                                                            utory duty that had been imposed for the protection
  will not occur.’ ”
                                                            of others. See also, Blair v. Anik Liquors, 210
     Id. at 53-54, quoting United States v. Park, 421       N.J.Super. 636, 645, 510 A.2d 314, 319 (1986)
U.S. 658, 95 S.Ct. 1903, 44 L.Ed.2d 489 (1975).             (indemnification for fines resulting from statutory
Without question, Congress intended to impose a             violations violates public policy).
strict, regulatory scheme in order to ensure compli-
                                                                 More recently, in Hutt Consultants v. Const.
ance with the strictures of the Clean Air Act.
                                                            Maintenance Systems, Inc., 526 N.W.2d 62, 65
     [10] Given the importance that Congress has            (Minn.App.1995), the Minnesota Court of Appeals
placed upon air quality-as reflected by the applica-        rejected a general contractor's contractual claim, for
tion of strict liability to offending owners and oper-      indemnification against a subcontractor, in order to
ators-we conclude that an operator's action for in-         recoup the benefits that the general contractor was
demnification, so as to secure a proportionate share        ordered to pay in a workers' compensation proceed-
of a civil penalty against an owner, is not cogniz-         ing, where the general contractor had violated its
able under Minnesota law. As we have noted, it is           statutory duty to acquire workers' compensation in-




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surance. In so ruling, the Court explained that, to         also, St. Paul Fire and Marine Ins. Co. v. Briggs,
allow “a general contractor to shift its workers'           464 N.W.2d 535, 539 (Minn.App.1990) (holding
compensation expenses by means of an indemnific-            that insurance coverage for nonpayment of taxes is
ation provision would contravene the public policy          contrary to public policy since corporate officers
embodied in the Workers' Compensation Act of re-            are under a legal obligation to ensure that corporate
quiring employers to bear the burden of their em-           taxes are paid), rev. denied (Minn., March 15,
ployees' work-related injuries.” Id. at 65. As the          1991). These same policy concerns militate against
Court viewed the matter, since the legislature, as a        J & D's request to be indemnified for any penalties
matter of public policy, “had already decided who           that it should be assessed for violating the prohibi-
sh[ould] bear the risk of loss,” the parties were not       tions of the Clean Air Act.
free to place that risk on someone else. Id. The
Court also expressed concern that allowing indem-                [12] Also supportive of our conclusion, that
nification might create an incentive for employers          Minnesota law provides J & D with no substantive
to forego the purchase of workers' compensation in-         basis for an indemnity claim against St. Paul, is the
surance that is required by State law. Id. Likewise,        absence of any operative provision for contractual
to permit indemnification in this instance would            indemnity for J & D's own wrongdoing. In Tolbert
similarly undermine the policies fostered by the            v. Gerber Indus., Inc., supra at 367, the Court rejec-
Clean Air Act, for Congress concluded that both             ted the previously recognized doctrine, which had
“owners” and “operators” should be held respons-            permitted a claim for indemnity where the party
ible for ensuring compliance with the asbestos NE-          seeking reimbursement had incurred liability be-
SHAP. Moreover, allowing J & D to indemnify it-             cause of its failure, even though negligent, to dis-
self for any strict liability penalties, that should ul-    cover or prevent the misconduct of the one against
timately be imposed, could effectively remove any           whom reimbursement was being sought. After Tol-
incentive on J & D's part to comply with the gov-           bert, if a party is to seek indemnification for its
erning air quality regulations.                             own negligence, “there must be an express provi-
                                                            sion in the contract to indemnify the indemnitee for
     [11] Our finding, that indemnification would           liability occasioned by its own negligence; such an
contravene public policy, is strengthened by an ana-        obligation will not be found by implication.” Farm-
logy to the general rule, under Minnesota law,              ington Plumbing v. Fischer Sand and Aggregate,
which bars the insurability of an award of punitive         Inc., 281 N.W.2d 838, 842 (Minn.1979); see also,
damages. “Because the punitive purpose of punitive          Barr/Nelson, Inc. v. Tonto's, Inc., 336 N.W.2d 46,
*1160 damages is lost when such damages are paid            53 (Minn.1983) (“There is no implied right of in-
by another on the defendant's behalf, public policy         demnity for one's own wrongful conduct.”). Ac-
is not served by permitting transfer of the respons-        cording to the Court in Farmington Plumbing, the
ibility for payment of punitive damages to another.”        preclusion of an implied right of indemnity, for
Rosenbloom v. Flygare, 501 N.W.2d 597, 602                  one's own wrongful conduct, “is consistent with the
(Minn.1993); see also, Wojciak v. Northern Pack-            policy expressed in Tolbert v. Gerber Indus., Inc.,
age Corp., 310 N.W.2d 675, 680 (Minn.1981). In              supra, that each tortfeasor accept responsibility for
recognition of the policy concerns relating to the in-      damages commensurate with its own relative culp-
surability of punitive damages, the Minnesota Su-           ability.” Id. at 842.
preme Court, in Perl v. St. Paul Fire and Marine
Ins. Co., 345 N.W.2d 209, 215-16 (Minn.1984),                   Of course, in denying J & D's request to com-
denied an attorney's request to be reimbursed, at his       mence an indemnity claim against St. Paul, we as-
insurer's expense, for the fees that he was required        sume, but without deciding, that the allegations of
to forfeit as a result of his own misconduct. See           the proposed Third-Party Complaint are true. Nev-




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ertheless, even if J & D had relied upon St. Paul's        fication of civil penalties assessed under the Clean
representations and contractual obligations to its         Water Act on the ground that “the party engaged in
own detriment, the Clean Air Act places the re-            the potentially polluting enterprise is in the best po-
sponsibility on both “owners” and “operators” to           sition to estimate the risk of accidental pollution
ensure compliance with the Act. While we recog-            and plan accordingly”); Tug Ocean Prince, Inc. v.
nize that J & D does not request indemnification           United     States,    436     F.Supp.      907,    926
“for its own negligence,” we conclude that the reas-       (S.D.N.Y.1977) (absence of defense, and the pur-
oning of the Minnesota Supreme Court, in Tolbert           poses of penalty provision, lead to the conclusion
v. Gerber Indus., Inc., supra at 367, applies to pen-      that there is no right to indemnity under the Clean
alties for which the law imposes an absolute duty.         Water Act), rev'd in part, aff'd. in part, 584 F.2d
As we have noted, in Tolbert, the Court concluded          1151 (2d Cir.1978), cert. denied, 440 U.S. 959, 99
that, absent an express contractual provision, in-         S.Ct. 1499, 59 L.Ed.2d 772 (1979).
demnity should not be permitted to shift an “entire
loss from one culpable wrongdoer to another.” Id.               In denying leave to amend, we do not overlook
at 367.                                                    J & D's abundant concern that St. Paul is primarily
                                                           and, perhaps, solely responsible for the alleged vi-
     Moreover, the conclusion we reach is consist-         olations. Should this be the ultimate determination,
ent with the only case that addresses whether con-         however, J & D will not be prejudiced by this Or-
siderations of public policy will allow an “owner”         der, for Section 113(e) of the Act, Title 42 U.S.C. §
or “operator” to indemnify itself, under State law         7413(e), requires the Court, where appropriate, to
theories of recovery, against the imposition of a          consider a variety of specific criteria in assessing
civil penalty under the Clean Air Act. In Beerman          the amount of any civil penalty, based upon the de-
Realty Co. v. Alloyd Asbestos Abatement Co., 100           fendant's unique circumstances. See, e.g., United
Ohio App.3d 270, 653 N.E.2d 1218 (1995), the               States v. Midwest Suspension and Brake, 824
Ohio Court of Appeals held that an owner could             F.Supp. 713, 735 (E.D.Mich.1993), aff'd, 49 F.3d
not, on common law grounds, seek indemnity for             1197 (6th Cir.1995); United States v. Harford
the penalties that were assessed under the Act. Re-        Sands, Inc., 575 F.Supp. 733, 735 (D.Md.1983)
lying upon the legislative history of the civil pen-       (while not relevant to a determination of liability,
alty provisions, the Court concluded that allowing         defendant's lack of knowledge may affect its culp-
indemnification would violate public policy, and           ability and, therefore, the amount of a civil penalty
would contravene the purposes of the Clean Air             which would be appropriate).
Act. Id. 653 N.E.2d at 1223. According to the
Court, if the building owner could escape liability             “[I]n addition to such other factors as justice
by merely contracting with another party for the re-       may require,” the Act requires the Court to consider
moval of the asbestos, then the owner would have           the defendant's “good faith efforts to comply.” Title
no incentive to act responsibly, in the disposal of an     42 U.S.C. § 7413(e)(1). In this respect, the Govern-
asbestos-laden building, by *1161 choosing a de-           ment correctly notes that “the court can mitigate the
pendable contractor, and by taking measures to ad-         impact of strict liability in cases where the evidence
equately supervise the work. Id. at 1221. We find          shows that a specific defendant is less culpable due
this reasoning to be persuasive. As we have related,       to the actions of another person.” Government's
to permit indemnification here would have the prac-        Supplemental Memorandum, at 6. Accordingly, to
tical effect of removing any incentive, on J & D's         the extent that J & D believes that the actions taken
part, to ensure compliance with the NESHAP regu-           by St. Paul are germane to the amount of penalty
lations. Cf., United States v. Tex-Tow, Inc., 589          that J & D should be assessed, it may urge these
F.2d 1310, 1314 (7th Cir.1978) (denying indemni-           same arguments to the Court irrespective of wheth-




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er St. Paul has been joined as a third-party defend-               fostered by the targeting of one of several
ant. Further, if J & D's assertions as to the relative             potential wrongdoers to bear a penalty that
culpability of St. Paul are established, then the                  should be equitably allocated on the basis
Government's election, to forego a joinder of St.                  of primary fault. If, as J & D urges, St.
Paul, will work no disadvantage to J & D, for J & D                Paul has, with impunity, avoided its re-
will pay no more in penalties than the amount that                 sponsibilities under the Clean Air Act as a
the Court determines that J & D should justly bear,                result of what J & D regards as the Gov-
and no more. If, as J & D urges, the failure to join               ernment's indulgently noncritical eye, then
St. Paul will foreclose an opportunity to obtain full              the Court can assure that J & D will endure
recompense for a violation of the Clean Air Act,                   no prejudice, and the Government will
then the Government can bear the brunt of any pub-                 bear, as it properly should, any warranted
lic opprobrium should it have failed to effectively,               criticism should it have abandoned the na-
and fairly, enforced the legislative policies which                tional goal of an effective and nonpartisan
                             FN9
undergird the Clean Air Act.                                       enforcement of the Clean Air Act.

         FN9. We recognize the existence of some                *1162 Accordingly, we conclude that J & D
         authority which holds that the liability for      has failed to show that there is an underlying sub-
         a civil penalty, under the Clean Air Act, is      stantive basis, under Minnesota law, upon which it
         joint and several. See, e.g., United States v.    may assert a third-party claim for indemnity against
         B & W Inv. Properties, Inc., No. 91 C             St. Paul.
         5886, 1994 WL 53781 *5 (N.D.Ill., Febru-
         ary 18, 1994) (affirming Magistrate                   NOW, THEREFORE, It is-
         Judge's recommendation that penalty under
                                                               ORDERED:
         the Clean Air Act can be imposed jointly
         and severally), aff'd, 38 F.3d 362, 367 (7th          That J & D's Motion for Leave to file a Third
         Cir.1994). We need not reach that issue           Party Complaint against St. Paul [Docket No. 10] is
         here, however, for the Government has op-         DENIED.
         posed, for reasons unknown to this Court,
         the joinder of all of the alleged wrongdo-        D.Minn.,1997.
         ers. Nevertheless, given our rejection of J       U.S. v. J & D Enterprises of Duluth
         & D's attempt to institute an indemnity           955 F.Supp. 1153, 27 Envtl. L. Rep. 20,916
         claim against St. Paul, we would substan-
         tially doubt the propriety of holding J & D       END OF DOCUMENT
         vicariously liable for the sole fault of St.
         Paul, under some notion of joint and sever-
         al liability. Here again, however, we need
         not reach that issue for, applying its equit-
         able powers to do what is just, the Court
         can assure that J & D will pay no more
         than its proper share of any total penalty,
         and the Government should not be heard to
         complain that St. Paul's wrongdoing, if
         any, has not been properly punished
         through a vicarious penalty against J & D.
         We are aware of no public policy that is




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